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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
Elizabeth Nelson
PO Box 1422
WARREN MI 48090 Case No. 2:22-cv-10918
Judge: MATTHEW LEITMAN
Plaintiffs(s)
-vs- Magistrate: Anthony P. Patti
SERVICE TOWING Inc et al., FILED USDC - CLRK
2022 NOV 14 pHa oT
Defendants

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RESPONSE TO MOTION TO DISMISS #38 and/or
MOTION FOR SUMMARY JUDGMENT

Now comes the plaintiff ELIZABETH NELSON=P and move for summary
judgment &/or responds to MOTION TO DISMISS #38.
(Ds) DWYER, Commissioner of the Warren Police Dept., Michaels,
Reichling, Fouts, Gauss , filed a Motion to Dismiss Doc 38. This is (P)’s response.
Per Ex 18, police dept-city Warren website “Police Department (D) Dwyer was

re-appointed Commissioner Warren Police Dept...warren police department

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mission statement “to serve... community and protect the lives, rights, and property
of all..people of Warren with integrity, equality, and justice.”.

Per Facts Td 28 3 Amended Complaint rewritten herein, policymaker D Dywer
did not “protect .. lives, rights, ..property .. people of Warren w..integrity, equality,
and justice”, & specifically (P)=Plaintiff=P.

P decided to protect her interest in 4 cars towed before sold thru falsified
paperwork as “abandoned” by Ds exited “self-isolation”, being “at risk” “people
of Warren” travel from Cuyahoga County OH, a then low covid county-to Warren-
then high Covid County Macomb 5/2/20, to retrieve 4 licensed, plated, insured
vehicles towed from behind privacy fence, built with warren bldg dept permit-
during Covid lockdown. Cars towed because “policymaker” Ds’ Dwyer, Fouts,
City attorney Michaels-Van Dyke substation commander Capt Reichlin: ’ aren
Property & Maintenance employee Gauss wrote ticket dn property 5/ oe Ex G pl-
2 Td39. This violated P’s rights under US Constitution, 4,5,14" Amendment.
Rather than “protect the lives”, of P Warren Citizen, P was exposure to Covid rate
7x Ex5 p 1-2 higher rate Macomb County, 16X Death Rate comparing Cuyahoga
County OH, Ex 8 vs Macomb County Ex 9- & exponentially more risk of
death/exposure,-since P “self-isolating” in Cleveland OH, then 52 yr old Warren
citizen was “told E Mich University Dr Td39, Ex K p2 Ex 4 with P-original

signature. P moves to have original signature Ex 4 apply to Td 39-Ex K Afft.

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Policymaker Ds failed to control city workers Ds’ that they: Falsify address 4
vehicles towed from. Refused P to file a police report as to towing of her 4 vehicles
and falsification of address on paperwork. P alleges “custom and policy”
perpetrated by (Ds’) Dwyer, Fouts, Michaels policymakers. Monell v. Department
of Social Services of the City of New York, infra which created.. for civil rights P
to seek money damages against a city. Pembaur v City of Cincinnati, infra
“Monell. recovery.. municipality is limited to acts.. ‘municipality’-that is, acts
which the municipality has officially sanctioned or ordered.’....”. “1* P alleges (D
Warren) has an unconstitutional policy. These policies may written or unwritten,
so long as .. attributed to a “policymaker.” Warren has an unconstitutional policy”
&/or towing cars for “blight” entering private property without search warrant
“policymakers.. elected officials (Ds Fouts, Dwyer, Michaels) or those defined as
policymakers by state law (Ds Dwyer, Fouts, Michaels). This.. also provides a
standard of causation: if a subordinate employee is the party responsible..
deprivation of rights, the local entity may only be responsible if a certain policy
was a “moving force” behind their action. This but-for standard .. 2nd a local entity
may be liable .. § 1983 for unconstitutional customs and practices. .. advantageous
to a civil rights plaintiff when no policymaker can be identified. ... 3) ifa
policymaker delegates his or her authority to a subordinate employee or explicitly

approves of unconstitutional actions,.. act can be said to be “of the municipality”

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by adoption. 4) civil rights plaintiff may allege deliberate indifference. .. applies to
single-incident-type injustices and concerns the city or county’s failure to hire,
train, or supervise its employees. Deliberate indifference liability attaches when
policymakers of ..local entity are aware .. risk and grossly neglect to address it.
Blatant unconstitutional policies are (not) authorized by city councils.. admissible
evidence proving policymaker authorization or adoption of a subordinate
employee’s unconstitutional action is often non-existent” . 1s wo POUL,

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says auimericed Becevctuacrs” See Ex

15 10/12/22 Detroit Free Press “This video is sickening, ...Detroit teen punched,
kicked by Warren Police” Warren Police kick black youth. (Ds’) Dwyer, Fouts,
Michaels condones this illegal behavior, &/or § 1983 for unconstitutional customs
and practices. warren police chief D Dwyer mission statement Ex 18 p 3/8:
“Professional .. members..Department will conduct themselves in a manner that is
consistent with professional standards for performance, .. standards ..adherence to
our mission (4/8) and other core values. We perform our roles ethically .. integrity
as we represent Warren Police Department, .” (Ds) Dwyer, Fouts, Michaels,
Reichling, Gauss involved in (P) facts does not comply w Warren police dept
mission statement. P avers (Ds) Dwyer, Fouts, puts same on paper, but “custom
and policy” does not train officers to adhere to Mission Statement.
(Ds) Dwyer, Fouts, Michaels, Gauss, Reichling, allege a 1* time defense of
! “blight” abandoning “MI Abandoned Vehicle defense” “Warren City Ordinance
Sec. 2.5-7 (Ord. No. 80-731, Sec 1, 8-11-15)” Doc 41 filed 10/10/22 @ pg. 4,
Codes not annexed Td38 Motion to Dismiss or any Ticket with P.name on. “The
purpose .. ensure compliance Warren Code of Ordinances designated as blight

violations. “previous enforcement mechanisms were not ensuring blight

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violation code compliance”, hence “Sec 2.5-7 Ord. No. 80-731, ..read in para
materia with the previous Ord. 8-11-15 Sec. 2.5-2. - Definitions. Blight
violation. A violation of a provision of the Code of Ordinances, including

appendices, which is designated as a blight violation.”

P states unconstitutional-since “blight” is never defined so as a person
would understand “blight” under “void for vagueness” doctrine. Or absent
a definition, common meaning “blight” must be accepted. “The void-for-
vagueness doctrine ..uncertain laws, whether criminal or civil, violate due
process and cannot be enforced. .. based on individual rights and one based
on constitutional structure” “Definition. ..criminal law, a declaration ..law is
invalid because it is not .. clear. Laws are .. found void for vagueness if, ..
punishment, law does not specify what is required or what conduct is
punishable” “ Vague laws raise problems with due process”. Connally v.

General ConstructionCo |. . ~ °*> lawis unconstitutionally vague when

people “of common intelligence must guess at its meaning.” .. unduly vague
it raises problems under Due process guarantee, ..applicable to federal
government 5..14"" Amendment”. Definition “blight” is a violation of
criminal statute, .. “up to 93 days”. 2"-if statute not define a word, “blight”
everyday meaning must be used. “Words .. everyday meanings” Canons

Construction Galia Gardner. 3", criminal statute, “rule of lenity” applies

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“principle of criminal statutory interpretation .. requires a court to apply any
unclear .. law in the manner that is most favorable.. defendant.” In re
“blight” definition to not include licensed, plated, insured venicles )
Holloway v. United States, 526 U.S. 1, 21 Statute cited ps een thru his
policy making authority as Police Commissioner Td39 ExQ-previous
Warren police Commissioner Nichols contract p 5 “Police Commissioner
,-head of Police Dept, shall organize and conduct the affairs ..dept for the
preservation of quiet and good order of the city and the safety of persons and
property therein..it is the policy..” i.e. D Dwyer “policymaker”- nowhere
allow D Reichling, Gauss enter private property to remedy “undefined”

“blight” violation-which under their definition includes licensed, plated,

insured vehicles during Covid lockdown. “Jf the alleged violator was

served proper notice” (P) never served Notice infraction, being renter

7568 Hudson -any notice US Constitutionally ee 4,5,14"
Amendments not include P name owner 4 cars 5/1/20. Ex A, Td 39 drivers
: license listing 7568 Hudson Warren, Td 39 Ex Chase Ex4 Afft PEx K p
1-2 Doc 39 WHO (World Health Organization) declared covid a
Worldwide Pandemic 2/20 Ex 1 Ds’ Michaels, Dwyer, Reichling, Fouts,

Gauss, did not delineate this -as cars could have belonged to multiple

parties not listed in any alleged ticket in violation of Supremacy Cl United

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States Constitution: A

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“.. _~ means areas .. with obsolete or inadequate infrastructure, ..building

structures are dilapidated”. As a matter of fact/law, cars do not meet the
on bliaht Ey,
definition of “abandoned vehicles”,.. misdemeanor (90) days. Ex 23 (D)..

Fouts prepares for influenza..covid, dated 2/26/20, 10 days before any
alleged hearing. Pg 3,“Our residents can feel at ease knowing that their
health and well-being is now and always will be my number one priority.
my administration, beginning with Police Commissioner (D) Bill Dwyer..
are working to ensure your safety..”. (D) ote (D) Warren police
officers Reichling: are not “D Dwyer..working to ensure your safety..”, Ex
23, pg 3, (D) Mayor Fouts Press Statement 2/26/20. P was exposed a
minimum 7X increased Covid exposure rate, 16x more likely to die as
calculated infra: New York Times data collected from state Health and
County Health Departments. Per Ex 5 “May 2, 2020” when (P) left

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Cuyahoga County, OH, New York Times Trac og Coronavirus “Daily
Average 63..” cases, of COVID 19. Per Ex 5 pg 2,“May 2, 20, “Daily

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average (deaths) 3.4 New Deaths 0”, Cuyahoga County, Oh. Per Ex 12,
Cuyahoga County Pop. 1.241 million 2020. Per Ex 11, Macomb County
Population 870,893 2020, Ex 6 Macomb County “May 2, 20: “Daily

Average 77” Covid cases. Hence, Macomb, with 1/3 less population-

had+14 new Covid cases day 5/2/20 than Cuyahoga County. Per Ex 5 pg.
2, “May 2, 20 Daily Average 3.4 New deaths 0” Cuyahoga County. Per Ex
9 “May 2, 20 Daily Average 16 New deaths 11” Macomb County,
showing increased risk (P)16X Death Rate-adjusted 30% more population.
P was “self-isolating” Cleveland having to exit single family home
creating infinite increase in Covid exposure. Ds’ Dwyer, Fouts, Michaels,
Captain Reichling, Gauss should have as MI abandoned statute reads, ran
plates, vin, and determined owner 52 yr old (P) “at risk” individual as
defined by covid emergency orders, Ex 25 4/2020 Dept of Human Services
guidelines, and if they did not “egg shell” theory tort law applies:“

Torts. Under eggshell-skull rule,..defendant is liable for all injuries caused
by his tortious conduct, even if the plaintiff suffers an unusually high level
of damage (e.g., due to a pre-existing vulnerability). The rule is supported
by the axiom that “a defendant must take a plaintiff as he finds him.”

Vosburg v. Putney, 80 Wis. 523 .. seminal case on the eggshell-skull

rule. Prosser, Handbook Law of Torts § 43, at 261 Restatement 3d of Torts:

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Liability for Physical and Emotional Harm, § 31, Ex 25 4/20 Dept Health
Human Serv “staying at home during coronavirus crisis ‘to avoid being
exposed to the coronavirus, it is important for everyone to stay at home
during the coronavirus crisis.. immune systems weaken with age, making it
harder to fight off infectious diseases. Cancer treatment (which P had
Beaumont Grosse Point) ... weaken the immune system can also make it
harder for the body to fight off the virus..stay home”. Ex 26 (D) Fouts covid
“The health and safety of residence is our priority..”. Yet (Ds) Fouts,
Dwyer, Michaels policy-makers actions “health and safety of residence” did
not apply to (P). (D) employees, police (Ds) Gauss, Michaels, Reichling,
were out towing cars off private property, via (Ds) Dwyer, Fouts, Michaels,
via their policy. Td 39 ExL) Affidavit landlord, tenant para 7-8 said Warren
police were involved in the 5/1/20 4 car towing, 2™ towing 7/7/21 towing
(P) Honda-affiant witnessing. Td39 Ex P pic of markings on Honda
“WPD”=Warren Police Dept. 1* towing 5/1/20- 4 vehicles, as alleged
“abandoned”, per (D) defense to court, 2™ towing as “blight”, 7/7/21. See
Ex Z Governor Whitmer orders Td39, Ex 3 2020 in effect 1* towing

5/1/20 Temporary requirement to suspend activities that are not necessary to
sustain or protect life Covid.. can result in serious illness or death. ..Older

adults and .. chronic health conditions are at particular risk, and there is an

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increased risk of rapid spread of covid.. close proximity to one another”

Td39 Ex Y “willful violation of this order is a misdemeanor” Ds Fouts,
Dwyer, Michaels, Reichling, Gauss were in violation gov emergency orders
Td39 ExZ. D mayor Fouts orders Td39 ExY adopting gov orders. (P) Mi
resident 7568 Hudson Ave Warren Mi, Td39 Ex A, Driver’s License Td39
Ex C Lease-P lease residence (home=4" Amendment) includes adjacent lot
7560 Hudson fenced Td39Ex D-pic fence, Doc 39 Ex B p1-2 conveyance..
7560 Hudson PID #13-333-278-008. Td39 Ex D, ExA Td1, pic sent to D
Michaels “uploaded .. May 01, 2020, 10.05 AM” cars-Sentra, Mazda B4
towing. Other 2 vehicles not pic on adjacent lot. Td39 Ex E p 1-2-title
Mazda, Mazda Ex 2 Pic. Td39 ExF “Evidence of Coverage Mi No Fault

Insurance” 4 cars.

Td39 Ex G,-pic ticket wrote by D Gauss 5/1/20 7568 Hudson re tenant=
eviction stayed because of Covid and “harboring in place” telling tenant to leave
when Covid raging, proving D Gauss @ scene 5/1/20 when cars towed.

P Honda was towed from behind, 7/7/21 damaging paint without notice or
“opportunity to be heard”, violated 4, 14th Amendment US Constitution. Ex H
Td39 article shows Mayor Fouts “personally involved”, See “promises kept” from
Warren Website. Chupa v Morceri, Fouts, et al., Case #2:06-cv-12584, complaint

para 30. “Defendant Fouts’ action.. was wrongfully motivated by defendant Fouts’

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desire to use municipal power to harass and injure plaintiffs”, showing Fouts
“custom and policy”. (P) 7/7/21 car towed “operable” Td39 ExK Afft P Ex 4 p1-
2, Td39 ExJ-landlord afft contrary to court order tow “inoperable vehicles”
entered after vehicle towed. Td39 Ex I: Pic Car Speedway after left D Service
Towing Inc tow yard. Td39 Ex J court order dated 7/7/21 entered same day Honda
towed, Td39 Ex J Afft landlord para 3 “tow employees said ‘Honda cannot be
towed without damaging it because it is at an angle behind the house (7568
Hudson”, then towed. Td39 Ex J Afft affiant states “he was not in court 7/7/21”. P
in hospital 7/7/21, Td39 Ex K Afft-& attached Ex 4, cannot be deemed to have
“constitutional notice” alleged order by court 7/7/21 entered same day as car

towed. Ds where aware other tenants in property and did not ascertain who owned

“a
Honda before tow. Ds’ Michaels, Gass, Reichling, Dwyer did not give P “notice

and an opportunity to be heard, .. right to procedural due process.” Thompson v
Ashe, 250 F3d 399, 407 CA6 Mullane v. Central Hanover Bank & Trust Co., 339
US 306 “Notice must be reasonably calculated. ..inform interested parties of a
pending action ...opportunity to respond” Ds’ Gauss, Michaels, Reichling, Dwyer,
Fouts, Doe police to go tow cars off private property, 5/1/20, when covid raging,
state, city under emergency orders “stay at home” Gov Emergency Orders Ex 3 pg

1-3, Ex Z Td39 Ex 30 p 1-8 D Fouts 2/26/2020 Emergency Orders

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Warren Courts open, and “custom and policy” in Warren is to write a ticket on
the vehicle or any alleged infraction, and then a court date is set. D Fouts
Facebook (FB) pg inciting Ds’, to attack “blight”. Ex H p 1-2 Td39 D Fouts FB
“personally involved, personally liable” as policymaker “ city of warren - State of
the City .. June 24th, I promised ..Warren landlords ..tickets for blighted homes . .
violations International Property Maintenance Code and a Td39 Ex J NILIv City
of Warren, 2015 ED MI Court opined International Property Maintenance Code
was illegally applied by City of Warren, (D) Fouts (D) City Council-for failing to
have an appeal process among other things. This is 7/7/21 towing of P 2008 Honda
without NOTICE, when P in Macomb Ascension hospital. FB post states “blighted
homes”. Td39 ExP windshield P towed Honda 7/7/21, “blight”, WPD=Warren
Police Dept including D Dwyer-policymaker. Td39 Ex Q standard Warren Police
Commissioner contract gives (D) Dwyer “policymaking” authority over Warren
Police Dept. oxford definition of blight: "vacant properties are a blight
on neighborhood" P Honda does not fit definition “blight”, windshield. Td39 Ex
P, Ex2 pic 2012 Mazda towed. Td39 Ex K-Ex 4 hereto Afft P avers facts are true
under oath. Cars towed by Ds’ Service Towing Inc, et al no “probable cause” per
4 Amendment US Constitution, no search warrant: “right of people to be secure ..
persons, houses, papers, and effects, against unreasonable searches..seizures, shall

not be violated, .. no warrants shall issue, but upon probable cause” Td39 Ex A

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Driver’s License, Ex C, lease, P home. No “procedural due process” as to “notice
and an opportunity to be heard” in re taking vehicles 4,14th Amendment of US
Constitution City Warren thru policymakers Ds’ Fouts, Dwyer, Michaels,
employee Gauss knew or should have known had they been properly trained “lack
of training” towed vehicles was in violation of US Constitution 4,5,14 Amendment
5/1/20, Ds ‘Gauss, Reichling, entered property 7568 Hudson Ave & adjacent lot
(7560 Hudson Ave) owned by the same entity combined into 1 lot and towed 4
vehicles after entering property, para 1, D Gauss wrote ticket tenant to leave
property for occupying a posted vacant structure. this shows D Gauss were aware
tenants were in property Td39 Ex G pg 1-2. P owned cars, a renter lease agreement
=home Td39 ExC lease, ExA, ExD insurance papers Td39 Ex E p1-2 Title Mazda,
Ex 2 Pic Mazda, Ex 17, SAFEAIRBAG.COM, “our records, you have 3 registered
vehicles linked to your address.. 7568 Hudson Ave” Federal Dept Transportation,
knows (P)’s address “airbag safety recall”. Td1 Ex A pic 5/1/20=2 vehicles parked
@ 7568 Hudson Warren B4 towing D Michaels was contacted per “custom &
policy”-shown pic Td1 Ex 1 & said “tow off private property, see bottom of Tdl
Ex A, 5/1/20 10.05 AM. D Reichling assisted with towing-or sent warren police
doe officers to location, thru “custom and policy” of D Dwyer. US constitution
does not allow city of warren Gauss, Reichling to enter private property to inspect

vehicles VIN or tow vehicles or to call, conspire with (d) service towing inc, et al

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Ds & tow vehicles off private property without court order or take personal
property. Gov Ex 3 pg 1-4 , D Fouts, Ex 30 pg 1-8 issued emergency orders covid
pandemic. Gov “emergency orders” did not suspend US Constitution. Td39 ExV:
City of Warren received 3.5 % of its budget from forfeiture. Ds, Reichling, Gauss
should have reviewed falsification 5/1/20 when vehicles towed and reviewed
“

paperwork and should’ ve informed Gas, Michaels after running VIN #’s 4
vehicles were properly titled, plated-Ex D: Td1 Registration Silverado, Ex E Td1
owner P. §1983 for unconstitutional customs & practices. D Reichling doing
statutory duty running vin #’s before towing would show owner P 52 yr old
woman considered “at risk’ during covid-gov emergency order. Per Ex B Td 1
petition for hearing on abandoned vehicle p. 2 MCL 257.252 “Before determining
vehicle... is abandoned, police check to see if it is reported as stolen”. Ex B Td1
“Complaint Number 20-18750” yet still allowed 4 cars towed either by “failure to
train” or entering conspiracy private tow parties Ds’, or ‘deliberate indifference”.

P has US Constitutional right due process cl 5, 14" Amendment file police report
since physical paperwork shown Doe Warren police officer, Reichling, address
falsified to fit statutory definition abandoned vehicle Mi law. Doe officer was
going to file police report but overridden officer 2. This “failure to report a crime”
5/1/20 when initial cars were towed and again on or about 7/21 attempt to file

police report. D Gauss Td39 Ex G pg 1-2, ticketed tenant 7568 Hudson 5/1/20

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“illegal occupation” of structure, when gov, D Fouts stayed evictions, exposing
failure to train actions by Ds’, deliberate indifference by policymakers Ds Fouts,
Michaels, Dwyer. P avers Petition for hearing on abandoned vehicle Td! ExB is
void ab initio since caused to issue via falsified paperwork, falsified address
257.252a abandoned vehicle" means ..vehicle .. private property without consent
owner. (b).. public property ..48 hours, or on a state trunk line highway”
Discovery needed to ascertain if D Reichling 5/1/20 ran Vin #’s determined P
owner following law Td 1 Ex D, E Registration had he been properly trained & not
towed cars City of warren website “health and safety of our residents is our
priority. it is of utmost importance .. residents informed ..unprecedented

times” city of warren covid” approved by (D) mayor Fouts”. Actions of Ds’ P
life was endangered by state actors creating a situation where P had to decide to
recover $30G cars-or travel from low covid risk county OH to high covid risk
county MI to retrieve P cars-enter Service Towing Inc., exposing P to covid Ex 30
D Fouts 2/26/2020 orders name D “Dwyer” conferring w/ D Fouts re covid. Ds’
Service Towing Inc, et al., had 6 in x 4 inch sign on window “1 person in office”
but Ds Service Towing Inc employees not enforcing sign allowing anyone enter
7’x7’ waiting room. When helper retrieve vehicles 2 people in office, exposing P

to higher incident covid in process. I.e., had helper contacted covid in waiting

room would’ve exposed P. D Fouts is “personally liable”, “personally involved” in
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decisions running City of Warren. 6/21 Fouts state of city address Td39 Ex F, “get
absentee out of state landlords”, Td39 Ex G newspaper landlord “arrested” after D

Fouts said “target out of state landlords” 7/7/21 P Honda towed parked behind

7568 Hudson. Ds’ violated P’s 42 USC§ 1983, 1985-4,5,14 amendment violation

US Constitution to be free of unconstitutional search & seizure 5/1/20, 7/7/21. Ds
all times relevant to action acting under color of state law. Ds Reichling, Gauss via
custom and policy acting thru policymaker Fouts, Dwyer, Michaels made an
unreasonable & warrantless seizure of P property, tow 4 vehicles, violating 4,14"
Amendment US Constitution. At all times Ds’ Dwyer, Michaels, Fouts acted
pursuant to “policy or custom” in depriving P of 4 cars 5/1/20, 7/7/21 personal
property without court order or opportunity be heard, acting in individual
capacities in conspiracy &/or concert with private parties. D city of warren failed
to adopt clear policies, failed to properly train its employees Ds Gauss, police
Reichling removing vehicles from private property during covid emergency.

Ds’ taking P vehicles caused P “at risk person” leave low covid Cuyahoga
County OH to come to high Covid county Macomb MI, exit “self isolation” 7x+
covid exposure rate, 16x+ covid death rate, retrieve cars endangered P’s life
violates 42 USC Sec 1983, 1985,1988 in violation gov emergency orders, D Fouts

emergency orders “P can ..invoke federal court jurisdiction.. suffered

.. threatened or actual injury resulting from .. putatively illegal action." Linda RS v

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Richard D, 410 US 614, 617, Fouts, Dwyer, Michaels, Gauss, Reichling ignored
Gov emergency covid orders towing “threatened ..injury resulting from putatively
illegal action” Linda RS id., violated P due process, 4,5,14% Amendment US
Constitution. Ds’ violated P US Constitutional rights Due Process Cl 4, 5, 14"
Amendment when address falsified on paperwork submitted Mi Sec State give Ds’
alleged authority tow vehicles 5/1/20, & failed to allow P to file police report. P
ask for order Ds’ policymakers Fouts, Dwyer, Michaels violated P US
Constitutional rights Due Process Cl 4,5,14 Amendment ensures no party will be
deprived of property without notice and an opportunity to be heard” Fuentes v
Shevin, 407 US 67, 80, protection of property ..extended to "any significant
property interest”,” uninterrupted use of one's vehicle.. property interest, .. before
‘local government may so interrupt its use, owner is entitled to due process’ Bell v
Burson, 402 US 535, 539. P states 4 vehicles towed off private property
registered, titled, plates, insured without notice, courts open without court order is

an improper seizure prohibited by 4th Amendment. .. include protection of privacy

against arbitrary invasion US v Ortiz, 422 U.S. 891,“Jacobsen, 4" Amendment

protects 2 types of expectations, involving ‘searches,' .. other ‘seizures.’ A ‘search!
occurs.. expectation of privacy .. society.. is infringed. ...seizure’ of property occurs

interference ..individual's possessory interests” 4,14 Amendments Due process cl

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§ 1983 for unconstitutional customs and practices. P avers “outrageous conduct” in
concert &/or conspiracy with Gauss, Reichling, Dwyer, Michaels, city warren.
Per complaint facts Ds’ violated Ps Constitutional rights US Constitution, 5, 14"
amendment, Due Process Cl 42 USC 1983, 1985, 1988. “42 USC 1983 imposes
civil liability ..person acting under color of state law who deprives another.. rights,
constitution” Kallstrom v Columbus, 136 F3d 1055, 1060 6CA “state ..not..greatly
increase..risk of harm .. citizens without due process of law through its own
affirmative acts” id 1066. P claims Ds’ Gauss, Dwyer, Fouts, Reichling, Michaels,
Warren actions were liable for (P) increased “state created danger” theory of
liability. “liability under state-created-danger theory ..affirmative acts by state
which either create or increase ..risk ..individual will be exposed to private acts of
danger” id. “to bring a ‘state created danger’ claim,..show:‘an affirmative act by
state.. either created or increased risk (P) would be exposed to an act.. (2) a special
danger to (P) wherein state’s actions placed (P).. at risk, .. affects..public at large;
3) state knew or should have known..actions .. endangered (P)” Jones v Reynolds,
438 F3d 685, 690 6CA Harlow, 457 US @ 818). Kallstrom, “an individual’s
‘interest in preserving her life .. constitutional dimension.”” Id 1063 Ex3 gov
emergency orders, covid, Ds’ Michaels, Fouts, Dwyer, Reichling knew or should
have known towing 4 vehicles cause P exit self-isolation, violate Ds’ Fouts, Gov

“emergency orders” to retrieve cars or lose exposing P to “state created danger”,

20

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“1) affirmative act by state (employees) .. either created or increased risk (P) would
be exposed 2)..special danger to (P)..state’s action placed (P).. at risk”, Cartwright
v City of Marine City, 336 F3d 487, 493 CA6. Ds’ were aware of Covid, 5/1/20,
Ds’ Fouts entering “emergency orders”, Ex 23 Fouts 2/26/20 Press Release re
covid. D “Dwyer” gov orders “self-isolation” cause P exit self-isolation, retrieve
cars. Ds’ policymakers Michaels, Dwyer, Fouts, failure to train Reichling, Gauss.
. Per Ex 5 “May 2, 2020” when (P) left Cuyahoga County, OH, New York

Times Tracking Coronavirus “Daily Average 63..” cases, of COVID 19. Per Ex 5

pg 5 pg 2,“May 2, 20, “Daily average (deaths) 3.4 New Deaths 0”, Cuyahoga
County. Ex12, Cuyahoga County Pop. 1.241 million 2020. Ex 11, Macomb
County Pop 870,893 2020, Ex 6 Macomb County “May 2, 20: “Daily Average

77” Covid cases. Hence, Macomb, with 1/3 less population-had+14 new Covid

cases day 5/2/20 than Cuyahoga County. Per Ex 5 pg. 2, “May 2,20 Daily
Average 3.4 New deaths 0” Cuyahoga County. Per Ex 9“May 2,20 Daily Average
16 New deaths 11” Macomb County, showing increased risk (P)16x+Death Rate-
adjusted 30% more population. P was “self-isolating” Cleveland. Ex 22
Cuyahoga County Exec Budish, “Summer 2020..Covid..Cris is ..worst crisis we
have lived through..”. Ds’ endangering P life thru their actions, “§1983 for
unconstitutional customs and practices”. See D Fouts 2/26/20 Press Release Ex 23,

“We have implemented a public health management decision making training for

21
Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.690 Filed 11/14/22 Page 22 of 71

all Police...Covid (p3) Our residents can feel ease knowing that their health and
well being ...will be my number-one priority...beginning with Police
Commissioner ..Dwyer.. ensure your safety”. & o: § 1983 for unconstitutional
customs and practices of Ds’ sv)ey seaacvs Fouts, Davyer. Soe EESY PN 93 See
“3 Dacces of one Viayor i) Fouts, Vemtoreemiont of oreuinees oof tne Coun
Per facts Ds violated P US Constitutional rights Due Process 5,14 amendments
to make police report if laws broken. 7/21 P attempted make police report @
station D Reichling concerning “falsification” address 4 vehicles were towed.
Police officer Doe Complaint #20-18750 Tdi Ex B Pet for Hrg. This “failure to
report a crime” 5/1/20 cars towed & 7/21 attempt file police report violated P
Constitutional Due Process to “procedural due process” right “report a crime”, file

a complaint. Gov Covid Order 4/30/20 “ spread .. virus is for people to stay home

and keep their distance from others. .. hold on evictions’ Gauss Ex G Td39 ticket

tenant 7568 Hudson - in violation of gov orders- tenant eviction Td39 ExU,
annexed hereto Tsp Ex19#206101LT stayed 3/20 pandemic emergency orders
Td39, Ex Z gov emergency order No. 2020-70 in effect when cars towed 5/1/20.
Did falsifying address Td1 Ex B,C, Td39 ExW rise to Due Process violation 5, 14"
Amendment US Constitution. Falsification is imputed to Ds’ Dwyer, Fouts,
Michaels via lack of training, custom and policy, deliberate indifference.§1983 for

unconstitutional customs & practices. ExA Td 39 P address license 7568 Hudson

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Warren =address 4 cars towed & address Sec of State cars registered ExB,C,D
Td1,ExE p1-2, ExWp1-3. Per Aff't P Ex 4 pg 1-2, Td39 Ex K pg 1-2, did P have
Due Process, right to file a police report 7/21 re falsification of address, Monroe v
Pape, 365 US 167, 174-76 Supreme Court held .. non-state actors can, ...engage
in conduct under “color of State law,” ..subject to liability under..1983 where they
“act jointly” or conspire with state government officials. Brentwood Acad. v Tenn
Secondary Sc. Ath Ass’n, 531 US 288, 296 “finding liability..criminal law 1983,
acting in “conspiracy”, “jointly”. At all times policymakers Ds Fouts, Michaels,
Warren, Dwyer, acted pursued policies, practices, deliberate indifference ..direct
and cause of unconstitutional violations. Policies include, Dwyer, Fouts, Michaels
failure to supervise, Ds Reichling, Gauss. Ds’ Fouts, Michaels, Dwyer have policy
making authority Warren #2:21-cv-10446-DPH-APP ECF No. 1, PageID.18 Filed
2/26/21 p 18/26 Warren to implement proper training for Warren police officers,
city workers. Warren historically failed to train Moldowan v Warren, 157 F3d,

351, 393-394 6CA Warren imputed to policymakers Ds’ Dwyer, Michaels, Fouts,

Wore Der cor soe Servs oo VY abe US O88) 08) Uhastiany atmien woon offehal

ae LOTS Ce Vio eC C Sh 2S MOLEEN Re Oo DME ACTS
Draver, Mignaels, Fouts directing grills De seu, tow cars vig pores oy Drauss,
Roening Paerustiaen 8 ole 0 TDL ese px DD. Warren Woes fo gto
oe W Witrurs Dy Bours wostes Dy Gauss. Comite te seige gtus

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Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.692 Filed 11/14/22 Page 24 of 71

gore: OrGinance passeai oy Warren Cay coune. & or § 1983

for unconstitutional customs and practices of Ds’

Respectfully submitted,

CERTIFICATE OF SERVICE

A copy of this motion has been served on all counsel for defendant’s 1* class mail
with tracking this 11/10/2022 to:

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Lansing, MI 48089 Upbb L ine
E Nelson pro’se aU

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February 18, 2020

Due to the high case load and numbers of asymptomatic individuals testing positive for COVID-19, all
passengers and crew of the Diamond Princess cruise ship are quarantined off the coast of Japan, placed under
travel restrictions, and are prevented from retuming to the U.S. for at least 14 days after they have left the
Diamond Princess.

February 23, 2020

As Italy becomes a global COVID-19 hotspot, the Italian government issues Decree-Law No. 6, containing urgent
measures to contain and manage the epidemiological emergency caused by COVID-19, effectively locking down
the country.

February 25, 2020

CDC's Dr. Nancy Messonnier, the incident manager for the COVID-19 response, holds a telebriefing and braces
the nation to expect mitigation efforts to contain the SARS-CoV-2 virus in the U.S. that may include school
dosings, workplace shutdowns, and the canceling of large gatherings and public events, stating that the
“disruption to everyday life may be severe.”

February 28, 2020
CDC reports four additional presumptive positive cases of COVID-19 in California, Oregon, and Washington: one
case is likely travel-related, but three are likely due to community spread of the SARS-CoV-2 virus in the U.S.

February 29, 2020

CDC updates its Criteria to Guide Evaluation and Testing of Patients Under Investigation (PUI) for COVID-19 to
any patients with a severe respiratory illness even in the absence of travel history to affected areas or known
exposure to another case to prepare for possible widespread person-to-person transmission.

FDA announces a “new policy...for certain laboratories that develop and begin to use validated COVID-19
diagnostics before FDA has completed review of their emergency use authorization (EUA) requests,” allowing
laboratories to create tests to address testing shortages in the U.S.

CDC and the Washington Department of Public Health report the first death in an individual with laboratory-
confirmed COVID-19 in the U.S. The patient was a male in his 50s who was hospitalized with a pneumonia of
unknown cause and later died of his iliness.

March 1, 2020

CDC creates a hospitalization surveillance network for the SARS-CoV-2 virus called “COVID-NET” to track the
numbers and rates of COVID-19 hospitalizations by modifying existing respiratory virus surveillance networks
that monitor for hospitalizations associated with influenza and Respiratory Syncytial Virus (RSV).

Ex l pl

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March 3, 2020

CDC reports 60 cases of COVID-19 across Arizona, California, Florida, Georgia, Illinois, Massachusetts, New
Hampshire, New York, Oregon, Rhode Island, Washington, and Wisconsin. Of the 60 COVID-19 infections
detected, 21 are travel-related, 11 are from person-to-person spread, and 27 are unknown.

March 6, 2020

The Grand Princess cruise ship is stranded off the California coast after officials learn that a California man who
had traveled on the ship last month contracted COMD-19 and died. The California Air National Guard drops off
a limited supply of testing kits by helicopter; more than 3,500 people are aboard the ship, but only 46 are able to
be tested and 21 (mostly crew members) test positive.

March 11, 2020
After more than 118,000 cases in 114 countries and 4,291 deaths, the WHO declares COVID-19 a pandemic.

March 12, 2020
FDA no longer requires CDC to perform confirmatory testing for a positive COVID-19 diagnosis.

March 13, 2020
The Trump Administration declares a nationwide emergency and issues an additional travel ban on non-U.S.
citizens traveling from 26 European countries due to COVID-19.

March 14, 2020
CDC issues a “no sail order” for all cruise ships— calling for them to cease activity in all waters that the U.S. holds

jurisdiction over.

March 15, 2020

States begin to implement shutdowns in order to prevent the spread of COVID-19. The New York City public
school system— the largest school system in the U.S., with 1.1 million students— shuts down, while Ohio calls
for restaurants and bars to close.

March 16, 2020
CDC launches “Clara-Bot,” a COVID-19 symptom checker, on its website.

New and old guidelines begin circulating among state health departments for who gets critical care in the event
of ventilator shortages: Massachusetts and Pennsytvania use a point system prioritizing patients by likelihood of
benefitting from ICU care, while New York's 2015 plan relies on “exclusion criteria"— a list of medical conditions
that would make a patient ineligible, like traumatic brain injury, severe bums, or cardiac arrest. Alabama‘s
exclusion criteria list, released in 2010 and since removed from publication, included both “severe or profound
mental retardation” and “moderate to severe dementia.” _— wy

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Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.697 Filed 11/14/22 Page 29 of 71

March 17, 2020
Moderna Therapeutics begin the first human trials of a vaccine to protect against COVID-19 at a research facility
in Seattle, Washington.

The University of Minnesota launches a clinical trial testing hydroxychloroquine, an FDA-approved drug for the
prevention and treatment of malaria, for the treatment of COVID-19.

The Centers for Medicare & Medicaid (CMS) temporarily expands telehealth benefits, enabling beneficiaries to
receive a wider range of healthcare services from their doctors without having to travel to a healthcare facility.

March 19, 2020
CDC asks healthy people to donate blood if they are able amid a national shortage of blood during the COVID-19

pandemic.

California governor Gavin Newsom issues a statewide stay-at-home order to slow the spread of COVID-19
instructing residents to only leave their homes when necessary and shutting down ail but essential businesses.

March 27, 2020

The Trump Administration signs the Coronavirus Aid, Relief, and Economic Security (CARES) Act into law. The act
includes funding for $1,200 per adult (with expanded payments for families with children), expanded
unemployment benefits, forgivable small business loans, loans to major industries and corporations, and
expanded funding to state and local governments in response to the economic crisis caused by COVID-19.

Apple, in partnership with HHS, CDC, and the White House Coronavirus Task Force, releases an app with a
COVID-19 symptom and exposure questionnaire telling people how to isolate and monitor symptoms and giving
recommendations on testing and when to contact a medical provider if they believe they have contracted or
have been exposed to the SARS-CoV-2 virus.

March 28, 2020
To prevent the spread of COVID-19, the White House extends all social distancing measures until through the

end of April 2020.

FDA issues an EUA to allow hydroxychloroquine sulfate and chloroquine phosphate products to be added the
Strategic National Stockpile for the treatment of COVID-19.

CDC distributes a Health Alert Network (HAN) warning against using chloroquine phosphate without the
recommendation of a doctor or pharmacy after one person is made seriously ill and a second dies from
ingesting non-pharmaceutical chloroquine phosphate (a chemical aquariums use that is commercially available
for purchase at stores or online) to prevent or treat COVID-19.

CDC issues a domestic travel advisory for New York, New Jersey, and Connecticut due to high community
transmission of COVID-19 in those states, urging residents to refrain from all non-essential domestic travel for at

least 14 days, effective immediately. Ex | P 3

8/45
Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.698 Filed 11/14/22 Page 30 of 71

March 31, 2020
At a White House Press Briefing, Dr. Anthony Fauci and Dr. Deborah Brix announce that between 100,000 and

240,000 deaths in the U.S. are expected— even if social distancing and public health measures are perfectly
enacted.

(e

The journal of the American Medical Association Ophthalmology reports that COVID-19 can be transmitted
through the eye. One of the first warnings of the emergence of the SARS-CoV-2 virus came late in 2019 froma
Chinese ophthalmologist treating patients in Wuhan, Li Wenliang, MD, who died at age 34 from COVID-1 9.

April 3, 2020
At a White House press briefing, CDC announces new mask wearing guidelines and recommends that all people

wear a mask when outside of the home.

CDC warns the public about phone scams and phishing attacks that appear to originate from CDC and ask for
donations from individuals. This is government impersonation fraud— federal agencies do not request

donations from the public.

April 4, 2020
CDC launches a new weekly SARS-CoV-2 virus surveillance report called “COVIDView" summarizing weekly data

on COVID-19 hospitalizations, deaths, and testing.

More than 1 million cases of COVID-19 had been confirmed worldwide, a more than ten-fold increase in less
than a month.

April 6, 2020

3)

Hundreds of doctors and civil rights groups urge CDC and the U.S. government to release race and ethnicity
data on COVID-19 case-numbers in order to reveal the true impact of the virus on communities of color.

April 7, 2020 _

& Data from the Chicago Department of Public Health reported by the Chicago Tribune shows that despite being
about 30% of the total population, Black people account for 68% of the COVID-19 related deaths in Chicago and
are dying of COVID-19 at a rate nearly six-times greater than that of White Chicagoans, who account about 33%
of the population and approximately 14% of deaths. These numbers illuminate for many the racial disparities of

the COVID-19 pandemic in the U.S.

HHS announces $186 million in additional funding to state and local jurisdictions for the COVID-19 response.

April 8, 2020
HHS announces first contract for ventilator production under the Defense Production Act with General Motors.

April 9, 2020
CDC modifies and extends the no sail order for all cruise ships. Ex / p 4

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April 10, 2020

With over 18,600 confirmed deaths and more than 500,000 confirmed cases in under four months, the U.S. is
the country with the most reported COVID-19 cases and deaths, surpassing Italy and Spain as a global hot-spot
for the virus.

With 159,937 confirmed cases, New York State now has more reported cases of COVID-19 than Spain (153,000),
italy (143,000), or China (82,000). Amid critical hospital bed and ventilator shortages, aerial images emerge of
workers in hazmat suits burying coffins in mass graves at Hart Island off the Bronx, an area used for over 150
years by New York City officials as a mass burial site for those with no next-of-kin or who cannot afford funerals.

April 13, 2020
Most states in the U.S. report widespread cases of COVID-19.

At a White House press briefing, President Trump announces that the U.S. will cease contributing funding to the
WHO, shaking the global public health community.

April 16, 2020

The Trump Administration releases a plan outlining how states should reopen, calling for states or metropolitan
areas to meet benchmarks like reducing COVID-19 cases or deaths before reopening or stopping mitigation
strategies (like required masking), also known as “gating

April 20, 2020
As the COVID-19 pandemic grows, shortages of personal protective equipment (PPE) like gowns, eye shields,
masks, and even body bags, become dire- particularly in New York

April 22, 2020

After two pet cats in separate areas of New York state test positive for the SARS-CoV-2 virus, CDC recommends
that people restrict their pets’ interactions with other people or animals outside their household to prevent the
spread of COVID-19.

April 23, 2020

Using funds from the Coronavirus Aid, Relief, and Economic Security (CARES) Act, CDC announces $631 million
to fund and expand the existing Epidemiology and Laboratory Capacity for Prevention and Control of Emerging
Infectious Diseases (ELO), allowing state health departments to expand their capacity for the testing, contact
tracing, and containment of COVID-19.

April 24, 2020
Georgia, Alaska, and Oklahoma begin to partially reopen their states despite concerns from health experts

saying it was too early to reopen. Ex / P 5
Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.700 Filed 11/14/22 Page 32 of 71

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April 26, 2020

Clinicians in the U.S. and U.K. report clusters of children and adolescents requiring admission to intensive care
units (ICUs) with a multisystem inflammatory condition that can tead to multiorgan failure— similar to Kawasaki
disease and toxic shock syndrome. This condition will become known as Multisystem Inflammatory Syndrome in
Children (MIS-C), a serious inflammatory condition that affects children with current or recent COVID-19
infections.

April 28, 2020

Polls show that many people in the U.S., particularly those ages under 30 years or making less than $40,000 per
year, plan to defer medical care because of the cost of treatment due to the lack of insurance or being under-
insured, potentially leading to the further spread of COVID-19, the under-reporting of case numbers, and excess
deaths from COVID-19 and other preventable diseases.

April 30, 2020

The Trump Administration launches Operation Warp Speed, an initiative to produce a vaccine against the SARS-
CoV-2 virus as quickly as possible. The operation funds the development of six promising vaccine candidates
while they are still in the cinical trial phase, induding the Pfizer-BioNTech and Moderna mRNA vaccines.

Since mid-March 2020, more than 26.5 million people in the U.S. have filed for unemployment, increasing the
number of people without health insurance amid a pandemic.

Mid 2020

May 1, 2020
FDA issues an emergency use authorization (EUA) for the use of the antiviral drug Remdesivir for the treatment
of suspected or confirmed COVID-19 in people who are hospitalized with severe disease.

CDC develops the "PPE Burn Rate Calculator,” a spreadsheet-based model made to help healthcare facilities
plan and optimize the use of personal protective equipment or PPE for the COVID-19 response and publishes it
on the Apple and Android App stores.

CDC launches the SARS-CoV-2 Sequencing for Public Health Emergency Response, Epidemiology and
Surveillance (SPHERES), a national network to provide real-time genomic sequencing data to public health
response teams investigating COVID-19 cases, allowing them to track the SARS-CoV-2 virus as it evolves.

As some countries discuss re-opening, WHO convenes the International Heaith Regulation Emergency
Committee for a third time and declares that the global COVID-19 pandemic remains a Public Health Emergency

Ex pb

of international Concern (PHEIC).

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12/22 pdeadot . EN lease.ipg D 2000- 2014 B LATAOre Protea
aw 2:22-Ccv-10918-MFL-APP_ ECF No. 46, P ID.7 122 Page 33 of 71
RENTAL AGREEMENT °°

acuancy ™ , 1 NOT UNDERSTOOD, CONSULT AN ATTORNEY.
www.theLPA.com

qhe Tenant(s) known as ES f zap er 4 NV sb é wh (eretyy agree to rent the dwelling
ted at ”
caida 5g thy dion Aree Lowen tWarevew “Ml B07/

The premises are to be occupied by the above named tenants only. Tenant may not sublet premises.

f each month in full.

BPH aearnenrats. a—-(—(/8 Lats GOn per month payable on the
oO

LATE FEES !n the event rent is not paid by the (5th) day after due date, Tenant agrees to pay a late
charge of $ Z ~ . °

0 Ce“ r-C-— ee
UTILITIES _lenanit shall be responsible f of the following utilities: water, electric, gas, heating fuel,
Telephone.
APPLIANCES Appliances provided in this rental are: coe, RGeraigh dishwasher, eesng made CB fai
conditioner(s), . .
Repairs will be born by said Tenants if damage is due to negligence of Tenants. .
SECURITY Amount of security deposit is $ . Security shail be held by Landlord until the time said
Tenants have vacated the premises and has inspected it for damages. Tenant shail not have the right to

apply Security Deposit in payment of any rent. Security deposits must be raised proportionately with rent increases.

INSURANCE Tenantis responsible for Kability/fire insurance coverage on premises. Tenant agrees to obtain a
"Renter's Insurance” policy and to provide Owner or agent with a copy of policy within seven (7) days of lease
execution.

NOTICES Should tenant decide to vacate the premises, a [2 day written notice to the landlord is required.
Should landlord decide to have tenants vacated, a EU day witten notice is required. Tenant agrees to allow
premises to be shown at any and all reasonable times re-rental.

REAL ESTATE COMMISSION (f applicable) in the event a commission was eamed by a real estate broker, Tenant
all not take possession of the premises unless all fees due broker are paid in full as agreed. Commission is payable

. AMOU BALANCE DUE
RENT : .
SECURITY:

BROKER'S FEE: _

THE UNDERSIGNED TENANT(S) ACKNOWLEDGES RECEIPT OF A COPY HEREOF.
DATE: So - [ 0 — ZO L 2 L)
OWNER/AGEN Tenant

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pHone_£9/ QetL,

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Case 2:22-cv-10918-MFL-APP ECF NgiesfefindpagelD.702 Filed 11/14/22 Page 34 of 71
Whitmer :

Executive Order 2020-21: Temporary requirement to suspend
activities that are not necessary to sustain or protect life -
RESCINDED

March 23, 2020

Temporary requirement to suspend activities that are not necessary to sustain or protect Efe .

The novel coronavirus (COVID-19) is a respiratory disease that can resuit in serious itiness or death. It is caused pv 2
new strain of coronavirus not previously identified in humans and easily spread from person to person. Older adults
and those with chronic health conditions are at particular risk, and there is an increased risk of rapid spread of
COViD-19 among persons in close proximity to one another. There is currently no approved vaccine or antiviral
treatment for this arsease.

0715122, &57 PM S@pcautive Onder 2020-21: Temporary ap cuntela or go RESCODED

On March 10, 2020, the Michigan Department of Health and Hurnan Services identified the first two presumptive-
positive cases of COVID-19 in Michigan. On that same day, | issued Executive Order 2020-4. This order declared a
state of emergency across the state of Michigan under section 1 of article 5 of the Michigan Constitution cf 1963, the
Emergency Management Act, 1976 PA 390, as amended, MCL 30.401-.421, and the Emergency Powers of the
Governor Act of 1945, 1945 PA 302, as amended, MCL 10-31-33.

The Emergency Management Act vests the governor with broad powers and duties to “copfe] with dangers to this
state or the people of this state presented by a disaster or emergency,” which the governor may implement through
“executive orders, proclamations, and directives having the force and effect of law.” MCL 30.403(1)-(2). Similarly, the
Emergency Powers of the Governor Act of 1945, provides that, after deciaring a state of emergency, “the governor
may promutgate reasonable orders, rules, and regulations as he or she considers necessary to protect life and
property or to bring the emergency situation within the affected area under control” MCL 1031{1).

To suppress the spread of COVID-19, to prevent the state's health care system from being overwheimed, to allow
time for the production of critical test kits, ventilators, and personai protective equipment, and to avoid needless
deaths. it is reasonable and necessary to direct residents to remain at home or in their olace of residence to the
maximum extent feasible.

This order takes effect on March 24, 2020 at 12:01 am, and continues through April 13, 2020 at NSS pm.

Acting under the Michigan Constitution of 1963 and Michigan law, | order the following:

1, This order must be 3 ity to Pp np work that is not ry to in of provect file.

a, “2 . -
Fe pl. ne
2. Promoting remote work to the fullest exsent possbe.

T. Hezoing and patr who are on premises at least six feet from one ar to the extent p including for who are

4. Increasing standards of facitty cleaning and disinfection to limit worker and patron exposure to COVID-19, as well as adopting protocols to clean and
Gisinfect in the event of a positive COVID-19 case m the worxpce.

5. Adopting policies to pr from ring the pr if thay display ry Sy TTD or have had contact with a person who is nown

or suspected to have COVID-19.
6. Any other social distancing practices and ig recommended by the Centers for Disease Controt
6. Alli > VRIES at level (state, county, or local) that are not ry to in OF 2 fe, or to supporting those

om and that are ry tw in OF ie, are
1. For purposes of this order, ry Gor vith iS ities p 3 by critical infrastructure workers, including workers in law

> Such activities also include. but are not fimited to. oublic transit. trash pick-un and disposal. activities necessary 10 ge and

duer-ent SECU T ae oder 2A ane
‘OrG22, RST PA Onder 2020-21: ine, estain or gretent Ge -FERCEOIED
Vv to enable fons that Sut the wort of a b or Jon's criticai inat eh and uve eT”
safe and sanitary public parks so as to allow for outdoor recraston.
3. For purposes of this order, 'y & basic as in 4b). perio 1g such

4, Any in-p go ctivities must be px consistently with the social distancing practices and other
workers and pat ribed in Ste}
7. Exceptions,

1. Individuals may leave their home or place of residence, and travel as necessary:

1. To engage in oor activity, including wking, hiking, running, cycling, or any other ional activity a with
six feet from people from outside the individual's household.

2. To perform their jobs as critical i after being so desig: d by their employers. (Critical 5 ture workers who need not be
designated under section S{a] may teave their home for werk without a designation)

3.To inv basic as in Jon 4{b}, after being designated to perform such work by their ernployers.

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.704 Filed 11/14/22 Page 36 of 71

AFFIDAVIT OF PLAINTIFF ELIZABETH NELSON

Now comes the affiant under 28 USC Section 1746 “I declare (or certify, verify, or state) under
penalty of perjury under the laws of the United States of America that“

Everything is true in the complaint and amended complaints and motion for summary judgment
same as if rewritten herein

1) All exhibits are copies of originals and all facts are true in the complaint same as if
rewritten herein

2) Affiant was in Cleveland Ohio when notified cars missing, “self-isolating” since she is
deemed “at risk” for COVID 19

3) 4/25/20 Doctor @ Eastern Michigan told affiant “Do not come to Michigan because
everything is going crazy because of COVID 19.

4) Affiant contacted landlord THROWER 5/2/20 who was “self-isolating” being treated for
prostate cancer METROHEALTH CLEVELAND Ohio, to drive her to WARREN
MICHIGAN to retrieve her 4 vehicles

5) Affiant was terrified to travel to Michigan and have to interact with people while the
COVID 19 was raging.

6) On 7/5/21, affiant took an ambulance to MACOMB ASCENSION HOSPITAL 12 Mile
& Hoover and was admitted for an infection.

7) Affiant pulled her 2008 Honda Civic behind house at 7568 Hudson Ave Warren Mi.

8) Honda was operable 7/7/21 as it was driven away from (S) SERVICE TOWING INC. see
Ex I pic @ SPEEDWAY GAS STATION MOUND AFTER TOWING RELEASE

9) Affiant was informed by ALBERT THROWER-LANDLORD THAT Warren Police,
SERVICE TOWING INC., ROBERT SCOTT, JAMES CUMMINS, AND OTHERS
were in the process of towing her car having a view from the basement 7/7/21

10) Upon obtaining release of her car affiant notice that paint was missing Ex I where
SERVICE TOWING INC., had towed her car from the rear of auto as ALBERT
THROWER Ex L Affidavit heard (D) Service Towing Inc. state they had to tow (P)
vehicle as same was parked behind house

11) When towing her car, defendants Warren Building Inspector JAMES CUMMINS,
GHANAM, GAUSS, Robert Scott took her mower, WEBER grill, which pursuant to
CITY COUNCIL ORDANCE 4/28/21 see Exh DD WARREN WEEKLY MAY 12,
2021, “Fire pit ordinance stands in Warren” she was allowed to have. Affiant never
received WEBER grill back and affiant mower was broken when retrieved from Service
Towing Inc., since thrown upside down in landlords 2011 Silverado which was towed at
the same time. See Ex _affiant purchased new mower from Menards

12) Plaintiffs 2008 HONDA was marked “blight” on the windshield by the defendants

13) Affiant was never served with any infraction as to her 2008 Honda, WEBER GRILL,
and lawn mower when same taken 7/7/21.

14) (P) had an agreement w landlord THROWER mow lawn @ 7568 Hudson Ave., and
defendants took her mower. Mower was later observed upside down in landlord

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.705 Filed 11/14/22 Page 37 of 71

15) THROWER vehicle when 2011 Silverado-also towed was released from (D) SERVICE
TOWING INC.

16) Mower would not start-in spite of working before, and had to he scrarre? ™ GLS Serap
yard, Sherman Ave Warren ™I- see Pic O of mower @ GLE scrap yc?

17) Affiant purchased a new mower @ MENARDS 21 Mile, rees?r* anmnercd serrto as Ex
BB

18) Affiant avers that she was in MACOMB ASCENSION HOSPITAL 7::~
towing took place. Landlord Thrower called Affiant from basement (¢< >" ited
(D) Scott, (D) Mayor Fouts Ex L and (P) -affiant heard screaming “I "°°" oo La
HONDA TOWED”!

19) All expenses are correct as annexed to this motion

20) Affiant was terrified of (D)s’ and that her 4 cars would be towed again 5/2/2° 274 how
transport same to CLEVELAND OHIO where they would be safe inc: wring cutote ct.

21) If (Ds) had not towed cars, affiant would not have transported 4 cars to OHO.

22) 5/1/20 1 two cars behind duplex Ex D pic =The other 2 cars- 2012 *IAZDA § Grn
Touring, 2009 Silverado were to the right of the pictured cars behind the security fence

Ex N before towed 5/1/20.

23) About 7/30/21 affiant went with landlord Thrower to Warren Police substation Van
Dyke to make a police report on the falsified address 7528 Hudson Ave

24) Pursuant to Title 28 USC Section 1746°1 declare (or certify, verify, or state) under
penalty of perjury under the laws of the United States of America that the affiant avers

under the penalty of perjury that everything is true

9/26/2022
ef bp ther

A Ehzabe elson

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U.S.A. World Health

Tracking Coronavirus in Cuyahoga County, Ohio: Latest Map
and Case Count

Updated Oct. 12, 2022

New reported cases

All time Last 90 days
7-day

3,000 cases

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“MAY 2, 2020 ——

eo

1,000 Daily average: 63
New cases: 88

Apr. 2020 Sept. Feb. 2021 Jul. Dec. May 2022 Oct.

Test positivity rate

Apr. 2020 Oct. 2022 Apr. 2020 Oct. 2022 Apr. 2020

DAILY AVG. ON OCT. 11 PER 100,000 14-DAY CHANGE
Cases 138 -43%
Test positivity J 8.1% —
Hospitalized 239 -13%
Deaths 2 +40%
About this data

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https/www.nytimes.com/interactive/2021/us/cuyahoga-ohio-covid-cases. html:

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Average cases per capita in oy

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.707 Filed 11/14/22 Page 39 of 71
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The New York Fimes nttps://ayti.ins/2SivJEY

U.S.A. World Health —

Tracking Coronavirus in Macomb County, Mich.: Latest Map
and Case Count

Updated Oct. 12, 2022

New reported cases

All time Last 90 days

1,500 cases

1,000 , :
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“MAY 2, 2020 e

500 Daily average: 77

New cases: 43

Apr. 2020 Oct. 2022 Apr. 2020 Oct. 2022 Apr. 2020

DAILY AVG. ON OCT, 11 PER 100,000 14-DAY CHANGE
Cases 210 24 -4%
Test positivity 18% — —
Hospitalized 221 25 +4%
Deaths 2 <1 -33%
About this data

Ex 6

https//www.nytimes.com/interactivel2021/us/macomb-michigan-covid-cases hin

19
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cases per capita in Cuyahoga County

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Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.709 Filed 11/14/22 Page 41 of 71

MAY 3. 2020 Ee

Avg. test positivity: 13%

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About 841,000 results (0.59 seconds)

Macomb County / Population

870,893 (2020)

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Oakland County
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*® Macomb County

870,293 Macomb County
County in Michigan

Macomb County is a county located in the eastern portion o
U.S. state of Michigan, bordering Lake St. Clair, and is part o
northern Metro Detroit. As of the 2020 Census, the populatic
881,217, making it the thifd-most populous county in the stz
county seat is Mt. Clemens. Wikipedia

Explore more > Population elsewhere

Sources include: United States Census Bureau
Macomb Township 90,758 (2018) .

Wayne County, Michigan 1.753 million (2020)
People also ask

View 1

What percent of Macomb County is black? Destinations
What is Macomb County known for?

What i i ichigan?
hat is the racial makeup of Macomb County Michigan Lake Saint Sterling
Clair Heights
What is the best city to live in Macomb County?

Points of interest

https://www.census.gov > quickfacts >» macombcounty...

Macomb County, Michigan - U.S. Census Bureau QuickFacts

Westview
Orchards &
Population Estimates, July 1 2021, (V2021).. 876,792 ... Winery

https://en.wikipedia.org » wiki » Macomb_County_Mi...

Macomb County, Michigan - Wikipedia
As of the 2020 Census, the population was 881,217, making it the third-most populous county in
the state. ... The county seat is Mt. Clemens. ... Macomb County is ...

Largest city. Warren Named for. Alexander Macomb
Seat: Mount Clemens Congressional districts: 9th, 10th
Clinton Township, Macomb... - Washington Township - Bruce Township, Macomb...

https://www.michigan-demographics.com > macomb-co...

Macomb County Demographics - Get Current Census Data for ...
With 876,792 people, Macomb County is the 3rd most populated county in the state of Michigan
out of 83 counties. But watch out, Macomb County, because Genesee ...

https://worldpopulationreview.com > us-counties »mac... =
Macomb County, Michigan Population 2022 E X%
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About 3,810,000 results (0.56 seconds)

Cuyahoga County / Population

1.241 million (2020)

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ee County
° * ° _— 1.241 million

Summit County,
Ohio
540,810

Explore more +>

Sources include: United States Census Bureau Feedback

https://www.census.gov > quickfacts » cuyahogacounty...

Cuyahoga County, Ohio - U.S. Census Bureau QuickFacts
Population estimates base, April 1, 2020, (V2021).. 1,264,817 ; Population, percent change - April
1, 2020 (estimates base) to July 1, 2021, (V2021).

People also ask

What percentage of Cuyahoga County is black?

What is the population of Cuyahoga County Ohio 2021?
Why is Cleveland's Ohio population declining?

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https://en.wikipedia.org » wiki » Cuyahoga_County_C...
Cuyahoga County, Ohio - Wikipedia

Itis situated on the southern shore of Lake Erie, across the U.S.-Canada maritime border. As of
the 2020 census, its population was 1,264,817, making it the ...

County seat: Cleveland Founded: May 1, 1810
Congressional districts: 9th, 11th, 14th, 16th C... Named for: Cuyahoga River

Defunct townships of... - County Executive of Cuyahoga... - Oakwood

https://www.ohio-demographics.com > cuyahoga-count...

Get Current Census Data for Cuyahoga County, OH
population icon Population ... With 1,249,387 people, Cuyahoga County is the 2nd most
populated county in the state of Ohio out of 88 counties. But watch out, ...

https://www.countyplanning.us > census-data > 2020-plus

33

Cuyahoga County

County in Ohio

Cuyahoga County is a large urban county located in the
northeastern part of the U.S. state of Ohio. It is situated ont
southern shore of Lake Erje, across the U.S.-Canada maritin
border. As of the 2020 census, its population was 1,264,817
it the second-most-populous county in the state. Wikipedia

Population elsewhere

Ohio 11.68 million (2020)
Franklin County, Ohio ‘4.305 mittion (2020)
Lorain County 309,134 (2020)
Destinations View °

Cleveland Cuyahoga = Lake Erie Lakewood

Valley N...
Points of interest View"
The Rock & Roll Cleveland West Side
Cleveland Hail of Metroparks Market
Museum... Fame Zoo

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https:/Awww.google.com/search?q=cuyahoga+county+population&iz=1C 1PRUI_enU:

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‘S Code of Ordigances = ail
© Croes reference— Buildings and Buiiding Reguietion, Chepter 9: Garbage and Rubbish, Chapter 16; Nuisances,

Chapter 21, excluding nolse-based and smoking nuisances described in Articte I! and Article V; Property Maintenance,
Chapter 28; Sign Erectors end Sign Permit Fees, Chepter 31: Vegetation, Chapter 38; and generally Appendix A,

Zoning. «
State Lew reference-- MCL 117.49, MCL 117.47, end MCL 600.4027.

Sec, 2.5-1. - Purpose.

The purpose of this chapter is to ensure compliance with the Warren Code of Ordinances designated
as blight violations. Previous enforcement mechanisms were not ensuring blight violation code

compliance.

(Ord, No, 80-731, § 1, 8-11-15)

Sec, 2.5-2. - Definitions. I

Blight violation, A violation of a provision of the Code of Ordinances, including appendices, that ts
designated as a blight violation.

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Bureau, The administrative hearings bureau.

Credit union organization. A cooperative, nonprofit entity organized for the purposes of encouraging
thrift among its members, providing a variety of financial services to Its members, and providing an
opportunity for its members to use and control thelr own money on a democratic basls in order to
improve their economic and social condition, including credit unions organized pursuant to: the Credit
Union Act, MCL 490.101 to 490.601; the laws of another state or territory of the United States; or the

laws of the United States.

Financial institution. A state or nationally chartered bank or a state or federally chartered savings anc
loan association, savings bank, or credit union whose deposits are Insured by an agency of the United
States government and that maintains a principal office or branch office in the State of Michigan under
the laws of the State of Michigan or the United States.

Government-sponsored enterprise. That term as defined in 2 USC 622(8), or the Michigan State
Housing Development Authority created under the State Housing Development Authority Act of 1966,
MCL 125.1401 to 125.1499¢.

Mortgage servicer. A person that, directly or indirectly, services or offers to service mortgage loans, a
defined by MCL 445.1651a.

Rules committee. A committee comprised of the city attorney, the public service director, and the
director of property maintenance, or their representatives.

Case 2:22-cv-10918-MFL-APP ECF No. 46, Pag

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10/13/22, 223 PM Chapter 2.8 - ADMINISTRATIVE HEARINGS BUREAU | Code of C 1 Warren, M1 | die Library
Code of Ften RGR OE ure, Set of rules establishing the administrative hearings bureau's Progedures. i

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including procedures for: issuing written violation notices, default and admission of responsibility,
conducting administrative hearings to determine responsibility, issuing final decisions and orders, and

appeals.
Violator. A person who the administrative hearings officer has found responsible for a blight =~,
violation.
(Ord. No. 80-731, § 1, 8-11-15)
Sec. 2.5-3. - Jurisdiction. i
(a) Except as provided In section 2.5-3(b), the bureau has exclusive jurisdiction to make vw

determinations of responsibility and to Impose penaities for blight violations.  —,
(b) The bureau does not have jurisdiction over:

(1) A foreclosing governmental unit as defined by MCL 211.78; or ' xX

(2) An authority created under the Land Bank Fast Track Act, MCL 124.751—124.774.
(Ord. No. 80-731, § 1, 8-11-15)

Sec. 2.5-4. - Administrative hearings officer. i

(a) Appointment.
(1) The mayor shall appoint the primary administrative hearings officer and one (1) alternate.
(b) Qualifications.
(1) The primary administrative hearings officer shall be:
i. Acurrent 37th District Court Magistrate or an attorney licensed to practice law In
Michigan; and
ll, Qualified as required by MCL 117.4q(11).
(2) An alternate administrative hearings officer shall be:
1. Acurrent Michigan Olstrict Court Magistrate or an attorney licensed to practice law In
Michigan; and
Wl. Qualified as required by MCL 117.4q(11).
(c) Duties.
(1) The primary administrative hearings officer shall:
i. Conduct administrative hearings as provided for by the rules of procedure;
il. If the alleged violator was served proper notice and the alleged violator fails to appeat
at the scheduled hearing, enter an order of default finding an alleged violator
responsible for the violation;

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22-Cv-10918-MFL-APP ECF No. 46, PagelD.715 Filed 11/14/22 Page 47 of 71

Case 2

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Code of Ordinan cas Propose necessary rules of procedure changes to the rules committee, 2s prgvided in
section 2.5-5(aX2);
lv. Issue written responsibility determinations as provided for by the rules of procedure;
and

v. Impose penalties consistent with section 2.5-7 of this chapter.

vi, If the primary administrative hearings officer is unable to conduct a hearing, make a
determination, or impose a penalty, the alternate administrative hearings officer shall
conduct the hearing, make the determination, and, If applicable, Impose the penalty ir
a manner consistent with (cX1XI), (iv), and (v) of this subsection.

(d) Vacancy.
(1) if the primary administrative hearings officer position is vacant for a period of time longer
than thirty (30) days, the administrative hearings bureau Is suspended until a primary
administrative hearings officer is appointed.

(2) During the suspension, this chapter does not apply and ail blight violations are municipal
cM Infractions handled by the 37th District Court, punishable by a fine of not less than
one hundred dollars ($100.00) but not more than one thousand dollars ($1,000.00) and/or
costs; assessments; and damages and expenses as provided by MCL 600.8727(3).

(Ord, No. 80-731, § 1, 8-11-15; Ord. No. 80-750, § 1, 2-14-17; Ord. No. 80-786, § 1, 3-9-21)

Sec. 2.5-5. - Rules of procedure. 1

(a) Adoption and amendment.

(1) The rules committee shall adopt rules of procedure that govern the operation of the
administrative hearings bureau.

(2) The rules of procedure shall be amended by the following procedure:

1, The administrative hearings officer proposes changes to the rules of procedure
through a written petition to the rules committee;

ii, The rules committee votes on each proposed change. A majority vote determines
whether each proposed change |s adopted.

(Ord, No. 80-731, § 1, 8-11-15)

Sec. 2.5-6. - Fine schedule. 1

(a) City council shail adopt a fine schedule of civil fines and costs for blight violations.
(b) City council shall update the fine schedule as needed.
(Ord, No. 80-731, § 1, 8-11-15)

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Chapter 2.5 - ADMINISTRATIVE HEARINGS BUREAU | Code of C | Warren, Mt | Library

(a) Fines, costs, and other remedies.
(1) The administrative hearings officer shall impose on the violator:
|. Civil fines and costs, pursuant to the fee schedule; and
Il. Ajustice system assessment, as provided for by MCL 117.4q(13).

(2) The administrative hearings officer may also order the violator to:
i, Take corrective action to remedy the blight violation;
il, Retmburse the city for documented enforcement costs; and

ll, Take any other appropriate legal or equitable action.

(3) The administrative hearings officer may waive a fine for a blight violation if he/she finds ts (
that the violator:
l. Is the owner-occupler of the dwelling where the blight violation occurred;
Il. tsa first-time offender of a blight ordinance; and ww
lil, Has corrected the violation. tan,
(b) An administrative hearings officer shall not impose:
(1) A penaity of Incarceration; or Wi

(2) Acivil fine In excess of ten thousand dollars ($10,000.00).
(Ord, No, 80-731, § 1, 8-11-15)

Sec. 2.5-8. - Failure to obey administrative hearings officer's order. i

~

(a) Fatlure to pay civil fines and costs under. 5-7(aX1) as a separate offense; exemptions
ons,

penalties.

5:8(aX2), a violator Is guilty of a separate offense if:

(1) Except as provided In.
l. The administrative hearings officer imposes a civil fine and costs of one thousand
dollars ($1,000.00) or more on the violator; and
Hl, The violator fails to pay the civil fine and costs within thirty (30) days of the
administrative hearings officer's responsibility determination.

(2) Aviolator is exempted from -8(a\(1) if the violator:

, Became the owner of the property by foreclosure or by taking a deed in lieu of
foreclosure; and is a government-sponsored enterprise, a financial institution, a
mortgage servicer, or a credit union service organization; or

|. Is the owner of the property; and at the time that the administrative hearings officer
cer

imposed the civil fine and costs had filed, pursuant to MCL 211.7c¢(2), a valid principa
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Case 2

Code of Ordinances

Sec. 2.5-9. - Chapter not inconsistent.

Chapter 2.8 - ADMINISTRATIVE HEARINGS BUREAU | Cade of Ordinances | Warren, MI | Municode Library
residence exemption affidavit for the current year certifying that the Pagrery |s '
owned and occupied as a principal residence by the owner.
(3) Penattles,
|. Aviolator found gullty of failing to pay civil fines and costs under_section 2.5-8(a)(1) is
subject to the following penalty: ‘
1. For a first violation, the violator Is responsible for a municipal civil infraction and
may be ordered to pay a civil fine of not more than five hundred dollars ($500.00).
2. For a subsequent violation, the violator is guilty of a misdemeanor punishable by
Incarceration for not more than ninety-three (93) days or a fine of not more than
five hundred dollars ($500.00), or both.
(b) Failure to obey the administrative hearings officer's order under_section 2.5-7(aX2) as a
separate offense.
(1) Ifa violator fails to obey the administrative hearings officer's order to correct the blight
violation and/or pay the city for enforcement costs under section 2.5-7(aX2), that viclator
Is guilty of a misdemeanor punishabie by incarceration for not more than ninety (90) days
or a fine of not more than five hundred dollars ($500.00), or both.
(c) Lien, garnishment, or other collection methods authorized by law.

(1) If the administrative hearings officer imposes a civil fine and costs on a violator, and the
violator falls to pay within thirty (30) days of the administrative hearings officer's
responsibility determination, the property maintenance director or his/her representative
may pursue any collection method authorized by law including fillng a lien on the propert
Involved In the blight violation, pursuant to MCL 117.44; or fillng a writ of garnishment,
pursuant to MCL 600.4027, but not both.

(d) Zoning and bullding authorizations.

(1) As provided for in chapter 9, section 9-1 of the Code of Ordinances and appendix A, article
XXII}, section 23,02(b), the elty may prohibit a violator with unpaid administrative hearings
bureau civil fines or costs from applying for building permits, certificates of compliance,
varlances, rezoning approvals, site plan approvals, planned unit development approvals,
and other zoning and building authorizations.

(Ord. No, 80-731, § 1, 8-11-15)

This chapter applies to administrative adjudication proceedings conducted by the bureau to the
extent that it Is not Inconsistent with the existing Code.

(Ord. No. 80-731, § 1, 8-11-15)

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10/13/22, 5.048 Pe 2:22-Ccv-10918-MFL-ARncile? Fin ener ary Cate Wr ofenanods | Want hi} Muficote teeny 2 of 71
Code Of CARISSA BUILDINGS AND BUILDING REGULATIONS ARTICLE Il. - BUILDING CODE >
ARTICLE I. - IN GENERAL . ?
Sec. 9-1. - Penalty. i

(a) Except if there is an administrative hearings officer vacancy as described in_chapter 2.5,
section 2.5-4(d), the violation of a provision of this chapter is a blight violation. The
administrative hearings bureau shall punish a violator found responsible for a blight violation

as provided in Warren Code of Ordinances, chapter 2.5, section 2.5-7.

(b) A violator with any unpaid civil fines or costs imposed under chapter 2.5 of the Warren Code
of Ordinances may be ineligible to apply for a building permit, certificate of compliance, or a
variance, except if: .
(1) The person (1) became the owner of the property by foreclosure or by taking a deed in
lieu of foreclosure and (2) is a government-sponsored enterprise, a financial institution, a
mortgage servicer, or a credit union service organization, as defined by chapter 2.5,
section 2.5-2; or
(2) The person shows that the permit, certificate, or variance will correct, in whole or in part,
the blight violation that was the subject of the unpaid fines, costs, or justice system
assessments.
(Ord. No. 80-527, 8 8, 1-13-98; Ord. No. 80-629, § 1, 3-28-06; Ord. No. 80-650, § 1, 5-8-07; Ord. No. 80-
731, 8 3, 8-11-15; Ord. No. 80-750, § 2, 2-14-17)

State Law reference— MCL 125.1509c.

Secs. 9-2—9-15. - Reserved. i

< Chapter 9 - BUILDINGS AND BUILDING REGULATIONS ARTICLE Il. - BUILDING CODE >

Ex /7 pp)

https:/Atbrary.municode.com/mi/warren/codes/code_of_ordinances ?nodeld=PTHCOOR_CH9OBUBURE_ARTIINGE_S9-1PE 4/4

Detroit Hree Press

MACOMB

'This video is sickening,’ attorney says of
Detroit teen punched, kicked by Warren
police

0 Christina Hall
' Detroit Free Press
Published 5:46 p.m. ET Oct. 12, 2022 | Updated 8:29 p.m. ET Oct. 12, 2022

Tyler Wade’s attorney said his teenage client was repeatedly punched, kicked and stomped
by Warren police officers in a vicious attack after a chase in June that began in Warren and

ended in Ferndale.
And attorney James King said it’s all on police body camera footage that he released
Wednesday, one day after he filed a federal lawsuit on behalf of the Detroit teen. A civilian

also recorded the incident.

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.719 Filed 11/14/22 Page 51 of 71

P ACE 2 Invoice

Invoice Date: 10/05/2022
Public Access to Court Electronic Records .
Usage From: 07/01/2022 to: 09/30/2022

C Account Summary _)
(, >
Account #: 5501555
Pages: 1,298 | Invoice #: 5501555-Q32022
Rate: $0.10 | nue Date: 44/10/2022
Subtotal: $129.80
Amount Due: $129.80
Audio Files: o\ )
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. .00
Subtotal $0. Contact Us
Current Billed Usage: $129.80
San Antonio: (210) 301-6440
Toll Free: (800) 676-6856
. Hours: 8 am - 6 pm CT M-F
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Service Center website at
* North Carolina Eastern District * Texas Western District pacer.uscourts.gov.
* Texas Norther District
The PACER Federal Tax ID is:
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pacer.uscourts.gov.
. If you do not have a PACER account, use this fink to create one:
pacer.uscourts. goviregister-account.
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order.

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Elizabeth Nelson Portland, OR 97208-5208
9820 Cudell Ave

Ex l6

Cleveland, OH 44102

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.720 Filed 11/14/22 Page 52 of 71

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P.O. Box 746 | Wheeling, IL 60090 Sp : 4

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VEHICLE OWNER
3 < >> 7568 Hudson Ave Apt A
Warren, MI 48091-5912

LOGIN 1D: 000577-=~—

Dear Vehicle Owner,

According to our records, you have 3 registered vehicles linked to your address that are affected

by an urgent Takata airbag safety recall. If a part in one of these airbags explodes, it could cause SERIOUS
INJURY or DEATH to the driver and/or passengers. We can help to arrange the FREE airbag safety recall
repair for your affected vehicles.

Please visit Commercial.SafeAirbags.com to:

~. See a list of which vehicles are affected.
~ Find your closest authorized dealer to complete your FREE airbag safety .

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recall repairs. USE YOUR PHONE TO SCAN THIS
. CODE TO BE TAKEN DIRECTLY TO
Update the status of vehicles you no longer own. COMMERCIAL SAFEAIRBAGS.COM
AT-¥YOU NEED-TO KNOW:———~— : ° oO

All defective airbag safety recall repairs will be completed for FREE.

Most airbag safety recall repairs can be completed in as little as one hour, depending on the vehicle model
and the schedule of the dealer completing the recall repair.

A mobile repair at the vehicle's location, vehicle pick-up and delivery, a loaner vehicle or other alternate
transportation may be available - all for FREE. Please inquire when scheduling your FREE airbag safety

recall repair.

We look forward to keeping you and your passengers safe.

Sincerely, _—
Airbag Safety Recall Team fi x {

SafeAirbags.com is affiliated with the Settlement Special Administrator appointed by the District Court for the Southem District of Florida to implement
several settlement agreements entered into by BMW, Ford, Mazda, Nissan, Subaru, and Toyota am’ to conduct outreach on their behaif for the
replacement of Takata inflators in those brands’ vehicles. For this reason, to the extent you own one ur more vehides manufactured by some other

4 / brand, please visit NHTSA gov to see if that vehicle is affected by the Takata recall.

7*.. SAFEAIRBAGS.COM 9
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ceoppess of Michigan named him the Police Excuthee of te Wear. The
Comeniasioner is also an active member of both the Optimist Chub and

the Rotary Club.

Commissioner Dwyer is 2 graduate of UAnse Creuse High Schoo! in Mt.
Clemens. He and his wife Doris have tun grown Sons

Most recently in 2008, Commissioner Dwyer was one of the founding
members of the newly crested Macomb Counts Fredaral Task Force 8
fight againct Mege! Narcotic, otherwise known as FANTOR

Warren Police Department
Mission Statement

Fo serve the community and protact the lives, rights, and property of ai
people in the Clty of Warren with intagely, equellty, anc justice.

Value Statamert.
‘The core values of the Warren Police Department are

Ny to eam the trust and respect of those whom we serve and work with. We
do what is right at all times because it is the right thing to do.

Case 2:22-cv-10918- Pp
22-CV-10918-MFL-APP ECF No. 46, PagelD.721 Filed 11/14/22 age 53 of 71

oum,nre
University. He is also 2 graduate of the 97th session of the FES Nationel

with integthy a5 we represent the Warren Police Department, regerdiess nee

vit the ciecumatances. We hold each other and ourssives accouraabie £9
these standards.

Comage
Courage ic not the absence of fear, but rather Is mastery. We wil renal

Case 2 22cv BEB NVALANAP FRC NNO .439-RaRagell.516il dilad 09/26/2PaRage 4iof 19

Warcern, Michigan
Fricay, August 20, 2021 - 9:18 a.m.
THE CCGRT: Alber: Thrower versus Kim and
Cheryl Branson, 20-6101-LT.
Say your name for me, sir.
MR. THROWER: What was that?
TRE COURT: Say your name, please.
MR, THRCWER: Oh, Albert Thrower. Albert
Thrower.
THE COURT: Thank you.
Say your name, please.
NS. <M BRANSON:

THE COUNT:

Kim Branson.
Whern is the attorney?
MS. KIM BRANSON: Pardon?

THE GOUT: ALi sight. Thie ie the date and
time scheduled fo: a motion to cancel the jury demand.
Wheat do you wan: to tell ma?

MAR. THROWER: This Court wanted them to escrow
the rent and, wpon checking with the court, they never
escrowed the rest in July. 80, I wanted to convert it to
a judge eviction.

THE COURT: Okay.

Have you paid the escrows?
MS. KIM BRANSCN: Up until then, yes.

THE COURT: Sc you failed to follow the orders

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374 pistriet Court
Warren, Michigan

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STATE OF MICHIGAN
IN THE 37th JUDICIAL DISTR

ALJEPT DO. THROWER,
Plaintiff,
Vv
tid ELISABETH BRANSON
ari CHERYL BRANSON,

Defendants.

MOTION HEARING
3EFORE THE HOMORABLE MICHAEL C. CHUPA,

; A: REARANCES

“Plaintiff in Pro Per: ALBERT THROWER

31312 west 89th

KIB BRANSCHN
CHERYL BRANSON
7$€8 HKudecn

Onfendents in Pro Per:

" RECORDED &
THANSCRIBED BY:

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37 Diatrict Court
Warren, Hichigan

FOR THE COUNTY OF MACOMB

Warren, Michigan ~- Friday, Auguat 20, 2021

: Cleveland, Onio 44102

Warren, Michigan 48091

Jezaica R. Brown, CER ~ 7230
Certified Electronic Reporter

CcoPY

ICT COURT

Case No: 206101LT

gS

DISTRICT COURT JUDGE

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Case 2:22-cy-10918-MIFL-APP [EOF No. 89-PaBagelmS1 Filévled 09/26/2> ahags DOF 19

THE COURT: Yay your name, Ploaua.

MR. SCOTT: Robert Scott, Cirsetor of Property
Maintenance, City of Warren.
THE COURT:

NMR. SCOTT:

Okay. Why are you here?
I'm here on behalf -- if I can
intercede, your Honor, on behalf of Mu. Brangon and her

roommate. This is a posted vacant house chat hes been

posted as structurally inhabitable. And due to that «~
we couldn't find your order. I had ~- 1 looked for your
order and could not find ~~ 1 had your clerk look for the
order also atating that they should put their account in
escrow. We couldn't find it at the time, so advised
the ladies to stop paying rent because they were paying
rent for @ house that is inhabitable.

Though they couldn't be evicted because of the
COVID situation and the current state laws, they << they
are still occupying the house because we can't find thea
@ suitable place for them to move into, which they can
afford, I've also referred thea to legal -- legal
assistance and they're using a city-based legal
assistance trying to get them into a new -- in a new
residence.

THE COURT: December 9th of '20, defendants

demand jury trial, set for jury trial when able, escrow
order entered today, $810 per month aust be paid by

$

37 Diatrict Court
Warren, Michigan

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|

Vy, that I set; is that right? How many payments have you

i 8 missed?

| 3 MS. KIM BRANSON: Right now? Two.

‘ THE COURT: Okay. Okay. Is there anything you

5 want to say?

6 MS. KIM BRANSON: We were told not to pay any

: ? rent on -- on that because there was to be no more money

8 coming from that house to Al Thrower.

! 9 THE COURT: Okay. Who told you not to pay the

ae rent?

n MS. KIM BRANSON: The City. .

: 42 THE COURT: I told you to pay rent to the

13 court, right?

a4 MS. KIM BRANSON: Yes.

| 15 THE COURT: Okay.
16 Ie there anything you want to say, ma'am?

| a7 | MS. CHERYL BRANSON: Just what she said. We

| 18 were told not to pay anything.

as THE COURT: But you knew the court order was in

20 effect and you had been following it for some period of al

a time, right? :

| 22 |} MS. KIM BRANSON: Yes, seven months. a.
23 THE COURT: Okay.
a4 Good morning. —
28 MR. SCOTT: Good morning, your Honor.

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3™ District Court
[ Warren, Michigan

Case 2:22-cv-10918-MFL-APP [EOF No. 89-Pagagelie817 il Eden 0912872 aBageé MOF 19

WR. SCOTT: Because the state law will not
allow them to evicted out. We have been trying to find
them a new residence and assisting thea --

THE COURT: I'm sorry to interrupt you, sir.
Why are you looking for their -- to find a residence?
It'e their responsibility to find their own domicile.

MR. SCOTT: Well, I -~ I'm just -- that's why I
referred ‘em to legal assistance, so they could -- or,
when I say when I'm trying to help, I referred them to
legal assistance, your Honor.

THE COURT: You certainly have a right to help
4f you want to. I'm not opposing that.

MR. SCOTT: Right. It's just -- yeah, my end
of helping them is referring to legal assistance, which
hes been doing a pretty good job for them if I understand
correctly.

THE COURT: You just told me the property is
unlivable. Why would we delay the hearing in a
circumstance where they're residing in a property that's
unlivabie?

MR. SCOTT: We -- we had -- this has been a
long drawn out case, your Honor. It's -- we had made an
arrest a few weeks ago in this. The Police Department
made an arrest on a warrant that was issued by this Court

for Mr. Thrower, 20 we had an arrest made. He sat in the

7

3™ District Court
Warren, Michigen

tenants into the court by the i2th of each month. If the
12th is a holiday or a weekend, payment is due the next
business day. First escrow payment due December 14th of
‘20.

MA. SCOTT: Okay. Again, your Honor, like I
said I waen't aware of that. I would never have advised
him te go against your order if that -- if I could have
confirmed that at the time. 1 asked several of the
clerks to confirm that for me and they couldn't find it
at the time.

THE COURT: ‘They confirmed it for me because
they were compliant. 1 told them what to do and they
were doing it.

MR. SCOTT: Okay, your Honor.

THE COURT: And then you changed theiz mind.

Ms. Michaels, I see you there. Do you want to
appear as well?

MS. MICHASLS; Mary Michaels for the
intervening party, your Honor.

THE COURT: What do you want to tell me?

MS. MICHAELS: Pretty much what Mr. Scott said,
that thie property has been posted as unsafe therefore
cannot be occupied.

THE COURT: Okay. Then why are you guys
allowing them to continue then? ~

37 District Court
Warren, Michigan

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Case 2

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THE COURT: Nine 4.5-, air.

MR. THROWER:
MR. SCOTT: Thank you, your Honor.
Have a good day.

Nine a.m.

THE COURT:
(At 9:29 a.m, proceedings concluded)

STATE OF MICHIGAN)

COUNTY OF MACONB)
I, Jessica R. Brown, certify that this transcript,

true, and correct

consisting of 12 pages, is a complete,
to the best of my ability, of the proceedings and
August 20, 2021.

transcript
testimony taken in this case on friday,

September 14, 2021

JESSECA R. BROWN, CER-7230
Cerpified Electronic Reporter
8300 Common Road

Warren, Michigan 48093
896.574.4914

off again, it seemed prudent to require the occupiers of
the property to escrow the funds with the Court. Whether
those funds are applied to the rent back -- back rent, if
any, or returned to the tenants if rent is not -- is
abated, that's a battle for a different day. But two
months late is two months lete and, quite candidly, it
seems like I'm doing you @ favor.

Motion to cancel jury trial is granted. Do you
have your scheduler handy, Mr. Thrower?

MA, THROWER:

THE COURT:
Can you come next Friday for the hearing?

48. KIM BRANSON:

THE COURT: Okay.

Mr. Thrower, are you available on Friday?

Yes.

Ladies, can you eppear next Friday?

Yes.

NR. THROWER: Yes.
THE COURT:

will be conducted August 27th at nine o'clock in person

Hearing on the action for eviction

at the courthouse here. Make sure you have all of your

witnesses lined up; whoever is going to testify has to be
present and available to be questioned. If somebody is
not here, then their testimony is -- doesn’t exist so

make sure that both of you line up the witnesses. We'll

see you next Friday.
MR. THROWER:

1 SS
37 District Court
Warren, Michigan x<

Okay. That's at 6:43?

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.727 Filed 11/14/22 Page 59

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Dear PropertyOwner, ~~ Summer 2020

Cuyahoga County Exec: : =

ZThe COMID 19 Crisis is the worst crisis we have lived through in most of our lifetimes. tt has impacted people's health,
their jobs, and businesses throughout our County. itis part of the duty of County Government to collect property

* taxes and to distribute those taxes to your municipality, school district and state. We have always offered help to

residents who are struggling with their property tax payment. But now, more than ever, I want to be sure you know

if you are unable to pay the Second Half 2019 tax balance (due by Thursday August 13, 2020) or if you have had
difficutties paying your property taxes in the past and you have delinquent taxes, the County has expanded its
delinquent tax payment plan options. These options could assist you in addressing the matter. We are attempting
to reach out to you:in a genuine effort to discuss your present situation and try to help you through these
unprecedented times. The County has instituted the following measure until further notice:

° For taxpayers who can’t meet the terms of their delinquent contract, the Treasurer may offer you a new
contract. ~
We hope you will take advantage of this opportunity to resolve your tax situation. For further information on our
payment plans or to review your situation, please call us Monday through Friday 8:30 a.m. through 4:30 p.m.
at (216) 443-7420 for general tax issues or (216) 443-7698 if you have long-term delinquencies. We look forward
to hearing from you. . :

| hope that you and those you love are safe and well.

Sincerely,

Arno® rsh

County Executive Armond Budish

Note: If you have recently paid the taxes in full, made arrangements with our office to enter into a payment

Ey BAH

, mm 2079 East Ninth Street | Cleveland, Ohio 44115 | 216-443-7181 | www.cuyahogacounty.us

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.728 Filed 11/14/22 Page 60 of 71

FOR IMMEDIATE RELEASE Contact: Mayor Jim Fouts
February 26, 2020 Telephone. (588) 574-4520
Warren Mayor Jim Fouts

Prepares Warren For influenza String A
And Coronavirus (COVID-19)

Warren, 001 — Over these past weeks we have all watched as news of the
spread of Coronavirus in China, other parts of Asia and scross the globe has been
thrust onto our TV screens. As Mayor, tt is my goel to educate, detect, and
prevent any potential threat to our community here In Warren.

‘Thnse. sens ines hase tales $0 contact shee citteens of Vineren shatue 2 matential
Shrent.te thelr besith:
© (have releesed a Public Service Aeneuncomant PEA), and will contioun to
educate the public on the symptoms snd prevention of COMD-29.
aes © We hove inplemanted « puific hantth menagument dadston mating
oulsing Gar af Callen and Sire gameenal on COMD-18.
© Cur dlaputchers tuve boon edtucsted en COVND-28 teh emmment sp that
they can afert and anuiet cur first coapenders of potential otk on any enll
on which they we sant.
© (have issued afl eusisipel belidings vo Gaghay etntend eametds from
the Cunter for Disann Contest and Pvswnation (CBC), to help eteente snd
identify symptoms of the COVID-29 viens.
© City Hall wil femtere hand eunithing mutivns ot ech euteenen ant ot ech
Qapertment counter, to cadens the sprand of efi vines.

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We will continue to work closaly with aif federal, stata, county and other
municipal partners to mhigate potentiel risk and lnnedietely nddrans any lecel
signs of infection. Our residents can feel at case knowing thet thelr health and
well-being is now and always will be my manber-one priority. My administration,
baginaing with Police Commissioner Oil Deryer, Fire Comenissioner Skip
McAdema, and oli frst responders a2 diligently working to ensure your safety.

Finally, sey goal cantiwees to be to serve and protect the citizens and visttors in
Warren.

© lel be setting up matings at local hospitals (Benmmont and St. John
Recension) to make sure they have protocol in ploce.

© We wil be meeting with focet schools to educate them on symptoms to
lank for with students and staff.

© Masks and gloves will be avaliable ter residents visiting city hell, and
empleyess.

‘This virus wlso affects the economic stability ef not only Chine but also the U.S.
and the wortd. | think our companies may have te rethink investmant in China.

‘The great economic boom thet we heve hed may now have a downturn intn a
nasty recession because of the Inability of the many plants In Chine to function
becouse of this disease.

This could even affect the U.S. dential election in Ni ber. it th
adlects the production of Git, Ford, and many ether US. companies.

First, Werven residents should tebe comfort in inewing, health officials have
dafiorenad ux that the disk of G fran te our ity at this time

low. Secondly, in a series of pro-active steps | have authorized City Administrators
to bnphement o eaaber of praventaiies mesma.

For further infermation, phosse visht the Cantar fer Slannse Cuntrel and
Prevention welzsine at . and tha Michigan Department of Health and

COVID-23 is on emerging Gieceee and thare ts ware to laern shout ts
wunsetesislity, sreuttg, and ether textures end what wil bappen in tee United
States. Nem information wilt further infers the rh aesemert.

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a2, 7:47 PM

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.729 Filed 11/14/22 Page 61 of 71

(Current Warren COVIO- 19 Actions - City of Warren

Current Warren COVID-19
Actions

Currently city hall is closed to the public. Both the fitness center and
pool are still open by appointment only at the Warren Community
Center. The library is closed to the public, but is still allowing curbside
service. Data seems to indicate that Michigan and our immediate area
are hot spots for COVID-19.

That being the case we have instituted updated guidelines to protect
our employees, residents and visitors. These include the following:

A) Employees should not report to work if they have any of the following
symptoms: Fever, shortness of breath, uncontrolled cough.

B) Two or more of the following symptoms not explained by a known
medical or physical condition they must also not report to work and

en 922, 747 Pw

Camvent Wenrren COVID-18 Actions - Cay of Warren

Sincerely,

Mayor James R. Fouts

Select Language v

W122, 7:47 Pd

(Current Warren COVID- 19 Actions - City of Warren
these symptoms are: Abdominal pain, diarrhea, loss of taste or srnell,
Muscle aches, severe headache, sore throat, vomiting.

C) Employees at work must practice good hygiene and infection control
practices: mask, disinfecting, and social distancing.

D} If employees become sick during the day, they should immediately
be sent home and a COVID test must be scheduled. Disinfecting and
cleaning the workplace must immediately follow.

There are also procedures and guidelines dealing with COVID-19 sick
leave policy. The city is empowered to conduct these rules and
procedures based upon the HB 6032 Public Act 238 passed by the
legislature on October 2, 2020.

*| have received more notifications about employees and residents who
have tested positive for COVID 19. It seerns that in many cases they been
exposed to COVID at after work social events involving groups of people.
Many have attended various places with some degree of distancing and
disinfecting, but stitl became a victim. Any place in which a number of
people congregate will expose any of us to this horrible disease. To be
safe it is best not to attend gatherings of more than a few close friends
or family. Bars and other similar places seem to be especially risky at the
present time.

The less people you associate with the safer you are. Likewise,
Thanksgiving should include only a few family members and less people
is much safer than more people.

! know of too many people who thought they were safe only to contract
the disease.

Please practice safety this Thanksgiving so that the Christmas holiday
will be more enjoyable for you.

22-Cv-10918-MFL-APP ECF No. 46, PagelD.730 Filed 11/1

at

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Lorore mporart for everyone

to stay at home. This is particularly
true for older adults and people with some
chronic conditions, who have a higher risk for
complications from COVID-19—~the illness
caused by the coronavirus. The Eldercare
Locator and the Alliance for Aging Research
have teamed up to bring you the facts—so you
can keep yourself and loved ones safe and
healthy during this public health emergency.

Our immune systems weukan as we age,
making it harder to fight off infectious diseases.
Cancer treatment, immune deficien
amoking and prolonged use of medications
that weaken the immune system can also make
it harder for the body to f.ght off the virus.
People with certain chronic nealth conditions—
including keart d lung di besity
diabetes o: liver diseare—-aiso have a harder
time fighting the virus.

There is currently no vaccine available to
prevent COVID-19 und no medication to
treat It, s0 the best way to prevent {lines is to
avoid being exposed to the virus. COVIO-19
is thought to spread primarily through
respiratory droplets from coughs or sneezes.
ftmay alo be tars tca aficr you have

Case 2

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Corona viriis Crisis

touched a surface or object with the virus on it
and then touch your mouth, nose or ayes. The
Centers for Disease Control and Prevention
(CDC) advises older adults to:

Stay home

if you do need to go out in public, stay at

least 6 feet apart from others and wear a

simple cloth face covering to help prevent
the spread of the disease to others

Avoid high-touch surfaces like elevator
buttons, door handles and counters. If you
must touch these surfaces, use a tissue or
disposable wipe to touch tham

Don't touch your face, nose, eyes or mouth
Wash your hands with soap and water
often; hand sanitizers are ok to use if they
contain at least 60% alcohol

Not everyone with COVID-19 will experience
symptoms, or the symptoms may be mild
enough that you don’t realize you are
infected, evan though you are contagious.
Symptoms of COVID-19 typically appear 2 to
14 days alter exposure and may include:

Fever

Cough (usually a ory or unproductive cough)
Difficulty breathin 3 or sho.tness of breath
Fatigue

Loss of srne! and taste

Body aches

Nausea, diarrhea, stomach aches
‘ving

Call your healt 2.16 pus vou think you
may have bee : 2 seTeOL@ with
COVID-19 anc. ¢ in to develop symptoms.
They can advin yo. oF whether to get
tested forthe viru. In cnost cases, it’s best to
stay at home to avoid infecting others—or
becoming infocted yourself.

Most people wto become infected with
COVIO-19 car recover at hume. For some
people, however, thu virus can be serious or
fatal. Call 911 and scek immediate medical
care if you experienca:

Trouble breathing

Persistent pain or pressure in the chest
Confusion not cxparianced previously
Bluish lips or face:

Any other severe symptoms

Unfortunately. there ara sca nmers trying to
take advantage of this crisis by pretending
to sail you tests or rnedicines. According to
the Consumer Financial Protection Bureau
(www.consumerfinance.gov), the best
defense is to say NO to anyone you don't
know who contacts you (by phone, in person,
by text message or email) and asks for

your Social Secunty Number, bank account
number, credit card information, Medicare ID
number, driver's license number or any other
personally identifiable information

oluer adults age we
programs that prov
transportation to in

anv other supports ‘nat 23n help older e:.. ts
live ndepandercly ond safely at home.  *
sore activities are paused during this cr:

gig settings, loca! Area Agencies on &.
are adapting pregranis tc meet the incr
ne -d fur social angugenent.

Olds adults and ca-egivers can slwuys
theic local Arwa Agency on Agin::
twhat hap may be avadable for
vibat’s available in your area, ©
- reare Locator at (300) 677-11 1¢
hoare ach gov. You car also get inin:
raordy asked questions abou!
pa ie ic at www.coronavirus.gov.

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This fact shnet was developad by the Alhance for Aging Researe® nal: ¢ E'gercat boc ttor, which is admi
the National Asyoriatio~ of Aros Agencies on Aging (n4a) and f,

eemecea APti 2020 / Updated versions may be found ac eldercareaci.go.
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This project was suppo‘tad, in pac, by grant number 9O1RO002 -
Deparment of Health und Humnsn Services, Washington, DC 20-1
spansorship are ancou ged lo a cpiress freely their findings anc:
# Agonist ation for Community Liv

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andor Commun |
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EX 2

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.731 Filed 11/14/22 Page 63 of 71

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Ms perroedance: A shy He
deren Oe PRRENEY OF TRREIEREE IAG EO = LO Me Oe payin SAMADE BOE RAHO OR SRIAATE WAP ORR EE REO
spread of this virus.
Please tale the time to review the City of Warren COVID-19
in addition, we encourage residents

to stay connected with the for the latest
information end updates.
To see updates from the State of Michigan,
vek Also, visit the Center for Disease Control's
website at weamecdc.goy for further guidelines on staying hesithy.

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We

COVID-19
Resources/Information . =
‘The heeith and safety of our residents is our priority. It is of utmost -

importance to us thet we keep our residents informed and continue to

conduct city business during these unprecedented times. &

Warren hes bean at the forefront of successfully combeting COVID-1

and Mayor Pouts intends to lsep us in a leadership position to protect

FUE ITP YEE Us wed them eorerensnding worn day te chaliens aftectih

city services to our residents. Ali hands-on deck meaning thet off of us

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Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.732 Filed 11/14/22 Page 64 of 71

ACTUAL OUT OF POCKET EXPENSES OF PLAINTIFF NELSON

1* 5/1/20 Towing Expenses
Turnpike fee 5/2/20 to travel to Warren Michigan 2X-round trip 6.50 each 13.00

Gas for trip round trip 197 miles Cleveland-Warren 100.00
Tow fees 4 cars 5/1/20 $350x4= 1400.00
(D)s’ took Grill of plaintiff (P) 50.00
Disinfectant to clean cars-clean markings off windshields 10.00

Gas to drive 4 cars back to 7568 Hudson Ave — then driven to CLEVELAND OH = 250.00
Because of (D) harassment & tow yard employee said (D) ROBERT SCOTT would tow
Cars again if taken back to 7568 Hudson Ave Warren, MI See Affidavit THROWER

Ex K

4X Trips Ohio turnpike for 4 cars round trip = 8x x 6.50 52.00
4x Cars to Cleveland Ohio 6.50 OHIO Turnpike Fee ~ 26.00
MASK to travel with due to COVID 19-disinfectant 20.00

Interest on Expenses

2" 7/7/21 Towing expenses

Tow fee 2008 HONDA CIVIC 315
WEBER GRILL -taken @ same time as admitted in 37" District Court

by (D) ROBERT SCOTT -grill was taken 2™ time 75.00
MOWER-see receipt for new mower-it was (P) job to mow grass

with her mower- (P) had to purchase new mower RECEIPT MENARDS 169.00
Gas to Pick up Mower -MENARDS 21 mile 10.00
Gas in Mower 1.00
Damage to Paint towing 2008 HONDA from rear See Ex! Pic 800.00
Gas to Drive 2008 HONDA to Cleveland OH-as (P) was afraid would be towed again 20.00
Ohio Tumpike Fee take 2008 Honda to Cleveland OH 7/21 6.50
Transcript of Eviction Hearing 8/22 37" District Court Case 206101LT 100.00

Exh 14 pe 1
Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.733 Filed 11/14/22 Page 65 of 71

GENERAL EXPENSES FILING ACTION

Cost of Filing lawsuit 402.00
Round trip Gas to 231 Lafayette Blvd Detroit MI Courthouse 2X 20.00
Parking @Courthouse 2X $10 each time 30.00
Cost of Process Server 150.00
Postage 20.00
Paper 15.00
Ink for printer 20.00
PACER QUARTERLY ACCOUNT Ex 129.80
Paper- 4 reams 500 sheets CVS @ $7.79 each = + tax 35.00
Interest on Expenses

Postage Mailing Copies 3 defendants Ex 20.00
Postage Mailing Briefs 20.00

Postage Mailing Briefs 20.00

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.734 Filed 11/14/22 Page 66of 71°.

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26, 2030), Hanplagues chan had encees te Sonuss and plnews t yuapanty dixpese of Gems. Sere

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Confinned Case of COVED-29 1 the pamen tented proltive fer COVID-29 or head s beste
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Confirmed Case, then the Clty of Wana wii: (x82
o Notily Jestidenses of ene of the Clay of Wareen’s senior besmsinng fecRicies
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sit feet for a proienged petied of time without PPE) ix Coe puss 14 drys (while not
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cnr aod Fire € =
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Consictcat with Executive Onler 2020-36, Emplaysns wha test positive for COVED-19 cz dsplay
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shortens of tenet) wil ¥ wnat cithar:
L Beth 3 days = yen axed 2 ays fave passed
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often een 2 tnd 20 sot ier:
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them inte the hotiding. We will penuliie the wbbhor with a beodo=t ergin€ = whet <> de if Gey

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o Partnered with local food pantries
. Partnership to bring more food to Warren reeideats twough Forgotten Vervest, Gleancr”s
and Ssivation Anny

This virus also affects the ecomomic stabitity of not only Chise bed also the U.S. and the weehd. 5
think our companies may ave te rethink investment in Chima.

‘The great cconomic boom that we have hed may mow have a dowubem into a meaty revesssan
because of the inability of the meny plants in Chine to fianction because of tus drecasc.

This could even effect the U.S. Presidemial cheetion mn h offlects the
production of GM, Ford, sad maamy other U.S. compemics.

First, Warren residents should take comfort i knowing, health officials heve safermed os that
the risk of Coronavirus to our community at this tisne remains how. Secondly, im 2 series of pro-
d City Admini to impi a number of pr

active steps I have

IDOASUIWS.

For further formation, please visit the Center for Disease Control and Prevention websiec at
and the Michigan Department of Health and Human Services at

‘There ig ett more te be iearped

COVID-19 is an emerging disease and there is more to icarn about its tranmniasibilay, severty,
and other features and what will happen in the United States. Ncw informesion will ferther
inform the cisk assessment.

We wilt continue to work closely with afl federal, state, county and other municipal partners $0
mitigate potontial risk and imonediately eddress any local sigas of infection. Our vesidionta cant
feel at exse knowing that their bealth and well-being is now and always will be my pomber-one

priority. My administration, beginning with Police C: Bill Dwyer, Fire
Ce insic Skip McAdi aed all farst ders are dihyently working to ensure your
safety.

Finally. my goal continues to be to serve and protect the citizens and viaitors mm Warren.

1 WANT EVERYONE TO BE PREPARED NOT SCARED!

PagelD.735 Filed 11/14/22 Page 67 of 71

EXHEBIT A
FOR DAMEDIATE RELEASE Contact: Mayos Jim Fouts
Februmry 26, 2020 Tedephowe: (586) 574-4520
Warren Mayer dim Fouts
Prepares Warren For infimasen String A
And Coreuavires (COOVIB-19),

‘Warren, Mi — Over Qacse past works we have all wanched e2 news of the spread of Coronavires
in China, other parts af Asin ond acsons the globe bas becn thrust onto owr TY screens. As
Mayer, 2 is my goal wm educate, dewet, and p any potential threat to ous community here in

° L have retessed a Public Service Announcement (PSA), sad will continue te educate
the publis og the symptoms 2ud prevention of COVED-19.

« We have implemented « obfic health cisken making training for sll
Police and Fire perronred on CUViD-IY.

* Our chers have been eduested an COVTD-19 risk assessment so that they can
alert and assist oor first responders of potcutts] rick oe any call on which they are
seat.

© ft bave txwed elf manicipal buikitogs to disptey edecetions! materials frow the
Center for Disease Control aad Prevoution (CDC), te help educate sud identify
symptoms ef the COVID-19 virus.

. City Hail will feature hand sanitizing stations at exch entrence sad st exch
Department counter, to reduce the spread of 211 vtrores.

« =f will be setting up tings at leeal bospitats ¢ wt end St, Eat Ascenston) to
make sure they have pretocet m prree.

. We will be mecting with becal schools to ecucate then ow symptoms to bok for with

seabents men state.
. Masks and gloves will be avaiishte fur residents visiting city 820, sa3 cnpiarcet,
»
EXHOBIT 5
Séarchs 12, 2008

ALL MEDIA POR AMEDIATE DISTRIBUTION - CITY OF WARREN - WARREN
MAYOR JIM FOUTS TO ANNOUNCE ACTIONS WARREN WELL BY TAKING IN
SECARBS TO COVID-1S

Coronavirus (COVID-19) actions will be announced {ater today to serve aud protect ail p
Warren.

11D will be meeting with mayor dcparument heads 2 Noon today

2) } will alsa be meeting with members of the various churches io Warten Yater today after the
sta moet:

331 will also be contacung leaders of the various school disincts mn Warren.

43 Ewill also comact some major state leaders.

1 didd receive a call from the Governor yesterday.

After all of the abuve (will then aeuunce additivaal actions ihe Wacrett will be tak
protect poopte agama this vires. fam alsa requesting that all political leaders in Warre
aside thest differences to be united wa crve snd protect our citizens. Al! hands on deck fo
pandomec and no time for political games oF partiaansiip!

Can by reached 8 Office 386-574-3520, Mudtic 526-481-0545, Hare 586-873-5158,

Swecteiy.

Mavor James R. outs
City ef Warren

One City Square Suite 218
Warren, ME 48093-0726
SRHATAAVID
mayor ge cityols arenas
wrw.cityonwarres arg

Ex 30 p? °

Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.736 Filed 11/14/22 Page 68 of 71

March 12, 2020

ALL MEDIA FOR IMMEDIATE DISTRIBUTION - CITY OF WARREN - COVID-19
ACTION BY MAYOR FOUTS.

Below is a list of actions I have immediately isawed to prosect Warren citizens:

1) Moretorium oa Water shatoffs.

2) Friday Closure of Warren C. ity Conter, F bd R: son Comter, and Owen

Jax Center thru the end of March. Traseportation (Ger seniors end those with spocial needs

will remain active. Meals on Wheels at Ouren Jax will also tentatively renoste active. Civic

Theatre Productions on hold.
3) Fire and Police have protocol for assessing potential patients with coromavires.
4) All ial persons probibi d from senier housing facilities ot Sulweil and Joseph

Coach. All gatherings for various activities sach as St. Patrick’s Dey, Bingo, Buchee, and
other such events

5) Human Resources will be issuing guidelines to afl cmplay
take to limit exposure.

6) Building Maintenance will have stepped up efforts to senitize all publicty utilized acces,
including railings, elevetors, door knobs and couster tops. This incades repeated cleaning
throughout the day.

7) All children’s toys have beca removed from Librarics and additional cffers beve boon
issued involving cleaning kiosks and keyboards, and patrons will be ecauning their own
library cards.

1:

qeoper steps t

8) City inspectors aiso bave protocol ia place to aseccs the beenes/facilities before they cater.
a

{ have met with several religious leaders and school efficiats and beth have enken propor
tionary efforts and will cooperate and coltsborate with the city to protect their
parishioners. | will discuss more of this Jater.

Can be reached at Office 586-574-4520, Mobile 586-481-0545, Home 586-573-9053.
Sincerely,

Mayor James R. Fouts
City of Warren

One City Square- Swite 215
‘Warren, Mi 48093-6726
586-574-4520
coayor@cityofwarrea.org.
Nw Citvofwarren ore.

Merch 19, 2020

ALL MEDIA FOR IMMEDIATE DISTREBUTION - CITY OF WARREN - WARREN
MAYOR JIM FOUTS DECLARES A STATE. OF EMERGENCY

As the cblef executive (Mayer) af Warren, I have officially declared 2 State of Emergency
for the city of Warrea cffective Meeday March 23, 2820. This will de the fellewiaz:

1) Employees wilt he able te werk from their hemes. Tits otfows e safe distancing between
city employees te eneurs thelr safety by having minimmnen comtact with ether capleyers.
This will help te deter the aprend of the corennvirus.

2) This will afew me te our three exnters* os health auxiliary
fociiities. This will assist first responders and the wedicel community when the neod
artes.

3) Exsential services will covsaia in operation during tis crisis.

4) L will continue working at Warren City Hall, slthengh many caployces will be working
fron: home through telecemmeunications.

*Prarren Commonity Center, Owen Jax Center and Fitzgevatd Recreation.

Can be reached at Office 586-574-4520, Mobide S86-191-05-85, Home 536-573-9858.

Muvor James R. Fonts
Cin of Warren

EXHIBIT D
Merch 13, 2028

ALL MEDEA POR IMMEDIATE DISTRIBUTION - CITY OF WARREN - UPDATE
PROM WARREN MAYOR AM POUTS REGARDING WARREN
CLOSURESIACTIONS PERTAINING TO CORONAVIRUS (COVID-19)

ATTENTION [have ondeted the following Warren closures due to the coronavirus epidemic:

AW Warten Pubhe Litwarics will be closed effective this Monday thar at least the end of the
rronth

2) Warren City Hali will be closed to the public effective this Monday thru at least the end of the
smamnth,

3 ALL ote posenne! will still be reporting to work and we will take omuils and phone calls as
well

JV AARP ins service with also be closed until further native.

Note: Stave neccived reports that there maybe suspected cases of the virus int Warren, § await
further njesmasion inckuding additional testing. This is a FLUID situation and subject lo change.
GM has also closed down the Tech Center except for essential stst¥. The GM Tech Center is
directly across trae Warren City Hall. The Goverur is abo recommending that ail houses oF
worshrp should be closed if over 250 people are gather Phave received calls and suggested to
Pastors that they too consider closure in order to make itsaie tar their parishioners,

Can be reached at OR ies SR6- 574-4826, Mobile $8648 1-0545, Home 586-573-8058,

Mrvnr lanws Ro Fook
City of Waren

One City Square- Suite 215
Warren, MI 48083-6726
$RA-ST4-4520
mayor@eityotwarren.org
woe a otaarte ory

Marek 25, 2020

ALL MEDIA POR IMMEDIATE DISTRIBUTION - CITY OF WARREN - WARREN
MAYOR AM POUTS ESTABLISHES WARREN EMERGENCY FOOD HOTLINE
DURING COVED-19 CRIES.

During this tiosc off greai crisis we neod to focus on two words: Faith and Facts

Uhave an EMERGENCY HOTLINE $86-574-4526 for senior Warren residents as well as those
with pro-cxistiug conditions who arc in need of food. Please for thuse unly who ate in great
need! This wilt be coordinated with local food pantries and volunteers (rom Warren. Those
wishing t help owt cam also cali the HOTLINE number 586-574-4526. indicate that you are sble
to assist snd leave yeur phone number. THANK YOU

Can be reached at Office 596-$74-1522. Mobile 586-481-0545, Home SX6-573-8058.

Sincerely,

Mayor James R. Fouts
City of Warren

One City Square Suite 215
Warren, MI 48093-4726
586-574-4520

mayord cilyofwarren ore
ws cit vofwarren.org

30 pt .

April 5, 2020

ALL MEDIA FOR IMMEDIATE DISTRIBUTION - CITY OF WARREN -
Mayer Fouts Arranges Forgeteen Harvest At Warren City Hall Every Meoday

Forgotten Herveet will be at Warsca City Hall from 9 AM acti } PAM every Mooday for the
next iz weeks to provide froe foed packages for unctaplayed ncedy Werren ecsidenta. They
will have up bo 750 packages. No coutect as thay will put the food packages in the clean
trwek of your cer. We have Warson volunteers to belp out every Monday. Go to the south
parking lot for the food diswibution!

Olive $86-$74-4520, Cell 586-48 1-O5.45, Lanne 386-573-8058.

Smcerly.

Mayor James R. Fouts

City of Warren

One City Square- Suits 215
Warren, MI 48093-6726
586-874-4520
mayonacihyofwarren.arg
Www CHYOMwICELore

»

PUT OUT A REQUEST FOR PPE FOR THAT HOSPITAL “Help is on the way Som
Michigan vepptian.
Don't go to the hospital untess you are very sich as our hosprals are overwhelmed wit

ites cases. W's yout dame: pe
opporting oc matical p et with any sepport imcheding mrdks, lack cancredirom 2 local
restzuramt, aad sepport for their sscrifice ond work that they do! f iawe arraagod for 3 place 7
Woven te supply uur buspita! people im Warren with lunch.
Please suppor PRESIDENT TRUMP ve bis sarumg cocommmendativa tha: wo all Fullow
guidelines indicating that yuu wear a mk when mutside your hums. Aud way home for tix aext
= weeks. We must follow the suggestions of our Presidect, che CDC, and our Goveraor.*

Thank You!

*Oe a conicecno: call woth thre Wien: tlomsc inday Provident Tramp informed us af the vanes
oquipmen being received. Such 2s 100,000 veatilmers arc on theit «2;. He sicessed that the
government is working ditigently 30 rake sere afl bospiealy arc adequastcly wappiied

fice $86-S74-2520, Cell S86—28 1-05.45, Honae S86-373-K05A.

Sinveetvly.

Mayor Jags BR. Fouls
Cry of Warn

One City Square- Scie 215
Warren. MI 48093-6726
$86-574-45-20

witw ciiyefemrtcn ory,

‘Apeit 8, 2820

ALL MEDIA FOR EMMEDIATE DISTRIBUTION - CITY OF WAT7EN~ TRS
FROM MAYOR FOUTS ON COVID-19 CONCERNS OV ES TONS

LANDSCAPING Service bre Apparerily and untorinnanly if p97? St a
potion & that in Warren ¢ you are merely wsing a serving for Gun err
arose than that, the city will net be issuing tickets. Anything clicis aot 2 ~~
adhere to the siiie saaadaic. | do respectfully diaagree amd vicu Erwn scr.

UNEMPLOYMENT chocks-They ans coamantly overa helmed wih exis +
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you shout 20 minutes 19 complete and then your check will be in the recs.

FASTEST WAY TU FILE ONLINE is i your bast mame hegios with A-L 10> +
We y or Friday. MaZ File Seen, Tacs of Thurs, Anyone unable to do teat

Saturday

J)Geverner has tabert change vf petting poaded supplcs tx Michigan buepitals pas
Michigan companies to supply shut is only supplied hy Cema, Thank you Gover. 7%

Topeka, Kansas. Wheu they have a problem it affeets everyone.
4) The Posnmester has assurcd ma: thet the mail is safc and thet there m ny know cece’ 0
anyone poting the vines from their marl.

HOSPITALS:
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farida. eye ps and other ot NUTE: U spokowith 3 nue at Warren Ascom

EXHIBIT I
April 10, 2020

ALL MEDLA FOR IMMEDIATE DISTRIBUTION - CITY OF WARREN - UPDATE
FROM MAYOR FOUTS ON WARREN SANITATION EFFORTS-LAWN MOWING
Geem uniea* campleyors at Sanitation & DPW eaakos Waerea the best in the Alctro arcal We uc

the oaly city in thie arca thet is still picking up everything including compost. All other
samroundiog cities ae NOT picking op compost. What's next for these cities? Recycling?

My priucty i aheeys to exrve and protect ater citizens wad that's winy Lalso will NOT ticket
people far lows coring sed edging. Thats an cuseatil service and withows that service we vould

depend upon a awa service as do many people with various special necds Gee to injury snd
loess. [adeaire zed commend Governor Wiitmer’s cffart to hecp as wate but prohibiting arass

Hloweves, I urge Warren residents 10 try to get by without lawn cutting antil i is absobetcly
aecemtaty. Ai least for the ncxt few weeks. The Gevermor’s office vesponded to my txwn caning

de strongly sepport the Governors efits to hecp ws saft by socis! distancing.
*Ontr ualonized senieation city im the mumo acca with the caception of Grosse Pointe.

> That's ety we will wat be ticketing hewn services for grease cutting and edging. Horever. thes
does not mean we will nat Sicket for other services,

Ottice lH . femme
Sincerely,

Moyor Jemes K. Fouts

Ciev of Warren

Onc City Square- Suiec 215
Warren, Mi 48093-6726
HAO-> 14-4220

mayor esyutwaires.org
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CASE O3P-QETOO1B-MFL-APP ECF No. 46, PagelD.738. Filed 11/14/22 Page 70 of 71

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Mape pee BS
April 20, 2020

Daor Keshlents,

‘This lebter i 26 ohmeta onl apdete Stibwdll/ Jos Coach reatdenss aboot
the dented challange af (COVD-1D) te reregtins thie
ix an agitabing thee ond hut anpetbed afl cor Dves- the wales oll our rani-
deste and wilt falters guidelines support from sor lavdurs ve help prev
tose bers of our dering this pandemic”

‘The Cantars of Diveasn Contwel ond Proveshion (CDC) states thet the
best way oe cusid this lnaith tusee & through prevention:

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3. All peuple who howe home want practie: the wcial distencing ceenncs
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Z Wo weg all vest he tealp yowvent the spread 0° the vires:
o Shay in yerw of 2 posite and sveid contact with hess.

iy ques wont with
plone conta the office of StiweBor Cush vi 906-755-1730.

Mieggeerset
Case 2:22-cv-10918-MFL-APP ECF No. 46, PagelD.739 Filed 11/14/22 Page 71 of 71

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Rekiver L
Waser B38 Flyers far Marah, April, Map-thra tha COVID-19 otale

COVID-19 Coronavirus Information

( hawe an EMERGENCY HOTLING $86-S34-4225 for senior Warren reshdents 25 wel as
those with pre-existing conditions whe are in neod of ood. Please for those only whe
are in great need! This wilt be coordinated wath local food sh d wad trom
Warren. Those wishing to help out can also call the HOTLINE aumber 506-574-4526.
tadicete thet you are sble to sssist and leave your phone sumber.

2 Shove alao arranged for Forgottan Harvest food 23 Wineren tity hall, south
parking lt every Monday from: 8 am —1 gm. First come, first served. Stay in your
vehicles and food is placed in your funk.

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God Bimal = - Werven Mayor Jim Foun:

MDH Hotline to address COVID-19 health questions — Open seven days 2 week
from 8 a.m. te S pm. Cab 1-088-535-6196

Unempisyment Claims Hatine - Mondey ~ Fridey; & 2.1m. to 4:30 p.m. Call 1-866-
$00-0017
Mayor Fouts Requesting Heroes Photos

Ryower a teved wears, (pclice, Gwe, banitt (pocary worker, etc.) Mayor
‘The to festuse our be en oner city Fell edition, trted
‘Warvert's Heroes.

Pecee subexit bere phows, atts thelr name and where they work to
wenaniare@choptenrvensr4,

Help and Support Each Other
Duckag trees bard tices, plone seppert your Warren
Putrontee your local diners, glenaries, ice-counm shops, andi small businesses. You can
parchese gift cords to wee at 2 leter Eme to help them out.
dew is the thos we nead te help cur neighbors aad &tends,
Business Hours For Eerty Shopping

These stores are open to seniors, 60 and over and the disabled:
Shoger'c 7 am. —8 am. ~ MAF
Walrare: 6am. —7 a.m. — Tues, only
Maaijers: 7 a.m. -- 6 a.m. — Tues. & Thurs.
Oaletige Miaka: ? am. —-8 am. —Mon & Fret.
Rendaazo's: 7 a.m.- § a.m. --Daiy

MAYOR FOUTS’ OFFICE FOOD ASSISTANCE
DAERAERCY FOOD HOTUME StI 574-4526 for senior Warren reakbents 1 wel #0 those wih pre-

who are in need of facd. Maser ter trove onby who are in great peed! This
coordinated wh lecel food punttes and vohetears trem Werren.
Forgotten Harvest at city hall in the south parking lot every Mendey from SAM-1P04, contactiess,
first-come, fink served basis, food placed in your clean trunk.

A

